              Case 17-01393-RAM          Doc 134   Filed 12/10/18   Page 1 of 54



                          2018-UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov
In re:
                                                          Case No.: 15-17570-RAM
JADE WINDS ASSOCIATION, INC.,                             Chapter 11
            Debtor.
________________________________/
JADE WINDS ASSOCIATION, INC.
            Plaintiff,
v.                                                        Adv. No. 17-01393-RAM

FIRSTSERVICE RESIDENTIAL
FLORIDA, INC., f/k/a THE
CONTINENTAL GROUP, INC.
            Defendant.
_________________________________/

    FIRSTSERVICE’S NOTICE OF ISSUING SUBPOENA DUCES TECUM TO NON-
       PARTY FOR PRODUCTION OF DOCUMENTS WITHOUT DEPOSITION

         Please take notice that on December 7, 2018, or as soon thereafter as practicable,
FIRSTSERVICE RESIDENTIAL FLORIDA, INC.’s (“FirstService”), will serve the attached
Subpoena on the following (“Non-Parties”), with a return date of December 21, 2018 at 5:00 p.m.
(“Return Date”):
               1. Diana Podobied;
               2. Donna Tollefsen;
               3. Edward Velzaquez;
               4. Eva Lotsos;
               5. Florence Poretsky
               6. Jean Louis Dubois;
               7. Jose Scarabello;
               8. Laura Levi;
               9. Magdy Ayad;
               10. Mercedes Carrasses;
               11. Revillo Tullio;
               12. Robert Graver;
             Case 17-01393-RAM          Doc 134      Filed 12/10/18    Page 2 of 54
                                                                         Case No. 15-17570-RAM
                                                                         Adv. No. 17-01393-RAM


               13. Rodolfo Kahn;
               14. Sandra Mosenson Fox;
               15. Scott Baumann;
               16. Thomas Wollitzer;
               17. Xochitl Alvarez;
               18. Zuzana Bermudez;
               19. Harry Bermudez;
               20. Paul Lhotsky; and,
               21. Juan Severino.
       Non-Parties will be given the option of mailing the requested documents to undersigned
counsel at or before the Return Date.
Dated: December 10, 2018                     Respectfully submitted,
                                             /s/ Kristopher E. Pearson
                                             KRISTOPHER E. PEARSON
                                             Florida Bar Number 0016874
                                             kpearson@stearnsweaver.com
                                             STEARNS WEAVER MILLER WEISSLER
                                              ALHADEFF & SITTERSON, P.A.
                                             Museum Tower Building, Suite 2200
                                             150 West Flagler Street
                                             Miami, Florida 33130
                                             Telephone:     (305) 789-3200

                                 CERTIFICATE OF SERVICE
        I certify that the foregoing document is being filed electronically on December 10, 2018,
via the Court’s CM/ECF website. I further certify that the document is being furnished by
transmission of Notices of Electronic Filing (“NEF”) generated by CM/ECF to those counsel or
parties who are registered to receive NEF in this case, as indicated on the below Service List.

                                               /s/ Kristopher E. Pearson
                                               KRISTOPHER E. PEARSON




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             Case 17-01393-RAM         Doc 134       Filed 12/10/18    Page 3 of 54
                                                                         Case No. 15-17570-RAM
                                                                         Adv. No. 17-01393-RAM




                                     SERVICE LIST
                               Adv. Case No. 17-01393-RAM
                United States Bankruptcy Court, Southern District of Florida

The following parties are registered to receive Notice of Electronic Filing and are served through
CM/ECF.

Daniel F Blonsky, Esq.                              Justin E King
dblonsky@coffeyburlington.com                       jking@coffeyburlington.com
groque@coffeyburlington.com                         Counsel for Jade Winds Association, Inc.
service@coffeyburlington.com
vmontejo@coffeyburlington.com
Counsel for Jade Winds Association, Inc.

Kristopher E Pearson                                Eric S Pendergraft
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mmasvidal@stearnsweaver.com                         dwoodall@sfl-pa.com
bank@stearnsweaver.com                              scusack@sfl-pa.com
rross@stearnsweaver.com                             ematteo@sfl-pa.com
dillworthcdp@ecf.epiqsystems.com                    bshraibergecfmail@gmail.com
larrazola@stearnsweaver.com                         Counsel for Jade Winds Association, Inc.
cgraver@stearnsweaver.com
Counsel for FirstService Residential Florida,
Inc.




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1t2570    2s'10   -       to Produce               or     or To Permit


                                  NITED      TATES BANTNUPTCY                         Counr
                                          SOUTHERN DISTRICT OF FLORIDA
                                                        Miami Division
ln re:
JADE WINDS ASSOCTATTON, rNC.,                                              cAsE NO. 15-17570-RAM
       Dehtor.                                                             Chapter    11

JADE WINDS ASSOCIATION, INC.,
       Plaintiff,                                                          ADV. NO. 17-01393-RAM

FIRSTSERVICE RESIDENTIAL FLORIDA, INC.' etc.
                  danf.


      SUBPOENA TO PRODUCE DOCUMENTS,INFORMATION, OR OBJECTS OR TO PERMIT
     INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To:      DIANA PODOBIED ("EP@!")
         1750 NE 191 Street, Unit 625
         North Miami Beach, FL33179

X    production: yOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
the material: See attached SCFIEDULE A for instructions and requests for document production.

PLACE: Stearns Weaver Miller weissler Alhadeff & sitterson, P.A.                DATE AND TIME:
             c/o KristoPher E. Pearson, Esq.
             Museum Tower, Suite 2200                                           December 21,2018 at 5:00 p.m.
              150 West Flagler Sheet
             Miami, FL 33130

I    Inspection of premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
p--p"rry porr.rr"d or controlled by you at the time, date, and location set forth below, so that the requesting party may
inspect, measure, survey, photograph, test, or sample the properly or any designated object or operation on it'

PLACE:                                                                          DATE AND TIMB:


     The following provisions of Fed. R. Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d) , relating to your protection as a person subject
                                                                                                                          to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond    to this subpoena  and  the potential consequences  of
 not doing so.
 Date:   December 6.2018

           CLERK OF COURT
                                                          OR
                                                                                 ,s
           Signature of Clerk or DePutY Clerk

The name, address, email address, and telephone number of the attorney representing FirstService Residential
Florida, Inc.o who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Miller' et
al., 150 W. Flagler Street, Suite 2200' Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If this subpoena  commands    the production of documents, electronically stored information, or tangible things, or the
inspection of premises before triil, a notice and a copy of this subpoena must be serued on each party before it is served
on ihe person to whom it is directed. Fed. R. Civ. P. as(a)(a).
                                  Case 17-01393-RAM                      Doc 134            Filed 12/10/18              Page 5 of 54
                                                                                                                           Case or Adversarv Proceedine) ( tzlI5\
82570 (Form 2570      -   Subpoena to Producc Documents. Infbrmation, or Obiects or'I'o Pertnit lnspection in a Bankruptcy


                           Federal Rule of civil Procedure 45(c), (d), (e), and (g) (Effective 12lll13\
                  (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                                    (ii) clisclosing an unretained expert's opinion or inibrmation that
(c) Place of compliancc.                                                                  docs not describe specific occunences in dispute and results from the
                                                                                          expert's study that was not requested by a party.
    (1) For a Trial, Hearing, or Deposition. A subpoena may command a                          (C) Specifyrng t:ortdititttu ds an Altefnqtiva, ln the circumstances
person to attend a trial, hearing, or deposition only as follows:                         described in Rule 5(dX3)(B), the court may, instead ofquashing or
      (A) within 100 miles of where the person resides, is employed, or                   modifying a subpoena, orcler appearance or production under specified
rcgularly ftansaots business in pcrson; or                                                conditions ifthe serving party:
  -   (B) within the state where the person resides, is ernployed, or regularly                     (i) shows a substantial need for the testimony or material that
transacts business in person, ifthc person                                                cannot be otherwise lnet without undue hardship; and
          (i) is a party or a party's officer; or                                                   (ii) ensures that the subpoenaed person will be reasonably
          (ii) is cbmmanded to atlend a trial and would not incw substantial              compensated.
expense.
                                                                                          (c) Dutics in Rcsponding to a Subpoena.
    (2) For Other Discovery. A wbpoena may command:
      (A) production ofdocuments, or electronically stoled information, or                    (l) Producing Documents or Electronically Stored InJbrnntion These
things at i place within 100 miles of whcre the person resides, is employed,              procetlures apply to producing documents or eleclronically stored
or regularly ffansacts business in persoil; and                                           information:
     lB) inspection ofprenises, at the premises to be inspected.                                (A) Documents. A pcrson responding to a subpoena to produce
                                                                                          documents must produce them as they are kept in the ordinrry course of
(d) Protecting r Person Subject to a Subpoena; Enforcement'                               busincss or must organizc and label them to correspond to the categories in
                                                                                           the demand.
      (1) Avoiding Undue Burden or Expense; Sanctions. A party o7 a17s7ney                       (B) Formfor Producing Elecnonically Stored InJblmation Not
responsible fctr issuing and sening a subpoena must take reasonable steps to               Speci.fied. Ifa subpoeua does not speci! a form for producing electronically
oriid i*poiing undae burden or expense on a person subject to the                          slored inlbnnation, the person responding must produce it in a fonn or fomrs
subpoeni. Thi court for the district 'where compliance is required must ,                  in which it is ordinarily maintained or in a reasonably usable form or forms'
enforce this duty und inrpott an appropri.tte sanction --'tvhich may include                     (C) Electronicalty Stored Information Produced in Only One Form.
 lo-st earnings and reasoiable attorney's fees  on a party or attornel' ttho               The person rcsponding need not produce the same elcctronically storcd
                                                   -                                       infonnation in more than one form.
.ftiils to contply.
     (2) Command to Prodace Materials or Permit Inspection'                                     (D) Inaccessible Electronically Stored lnformation The person
       iA1 Aptr uorn rt .Not Required. A porson commanded
                                                            to produce                     responding need not provide discovery ofeleotronically stored infomtation
documenti, eleotronically stored information, or tangible things, or to permit             from sources that the person identifies as not reasonably accessible because
thc inspcction ofpremises, necd not appear in pcrson at the place of                       ofundue burden or oost. On motion to compel discovery or for a protective
production or inspection uuless also cotnmauded to appear for a deposition'                order, the persou responding must show that the infomration is not
hearing, or trial.                                                                         rcasonably acccssible because ofu:due burdcn or cost lfthat showing is
      ('ij Obiections. A person commanded to produce docnments or tangible                 made, thecorrt tnay nonetheless order discovery from such sources ifthe
thingi or to permit inspection rnay serve on the party or attomoy designated               requesting party shows good cause, considering the limitations ol'Rule
in thc subpocna a written objection to inspccting, copying, testing or                     26(bX2XC). The court may speciff conditious for the discovery.
sampling trny or all of the materials or to ilspecting the premises    or to
                                                                         -
producing eiectronically stored information in the form or forms requested'                    (2) Claiming Privilege or Protection.
The obje-tion nust be ierved before the earlier ofthe time specified for                         (A) Information Imthheld. A person withlolding subpoenaed
compliance or 14 days alter the subpoena is served. Ifan objeotion is nade,                information under a claim that it is privilcged or subject to protection as trial-
 the following rules apPlY:                                                                preparation matedal must:
            (i) At any time, on notice to the cornmanded person, the serving                          (i) cxpressly make the claim; and
 party may move the court for the district where compliance is required for an                        (ii) describe the nature ofthe withheld docurnents,
 order compelling production or inspection.                                                communications, or tangible things in a nralrner that, without revealing
            (iil mesc acts may be required only as directed in flre ordet, and             information itselfprivileged or protected, will enable the parties to assess the
 the orcler rnust protect a person who is neither a plrty nor a party's officer            claim.
 from signilicant expense resulting frorn compliance.                                            (B) Information Produced.lf information produced in response to a
                                                                                           subpoena is subject to a claim ofprivilege or ofprotection as trial-
      (3) Quashing or Modifuing a Subpoena'                                                prcparation material, the person making the claim may notifu any party that
      '
        i.'i Wnt, n quirecl. Ontimely motion' the court for the district where             ieceivetl the infornation ofthe olaim and the basis for it. After being
 cornpliance is required nust quash or modify a subpoona that:                             notified, a party must promptly retum, sequester, or destroy the specilied
           (i) fails to allow a teasonable time to complyl                                 information and any copies it has; must not use or disclose the infonnation
           (ii; requires a person to comply beyond the geographical limits                 until the claim is resolved; must take reasonable steps to retrieve tho
 speoitied in Rule 45(c);                                                                  information if the party disclosed it before being notified; and may promptly
  ^        (iii) requires disclosure ofprivileged or other protected matter, ifno          present the information under seal to the oorrt for the district where
 exceptioll or waiver aPPlies; or                                                          iompliancc is requircd for a determination of the claim. The person who
          (iv) subjects a person to undue burdeu.                                          produced the infonnation must preserve the information until the claim is
      (B) Illrcn Permitted. To prolect aperson subjeot to or affected by a                  rcsolved.
 subpoena, the court for the district where compliance is required may, on
 motion, quash or modiff the snbpoena ifit requires:                                        111 Cont.tpt. The court for the district where compliance is required - and
          li) disclosing a trado secret or other confidcntial research,                     aiso, after a tnotion is transferred, the issuing court - rnay hold in contempt a
 development, or commercial infomlation; or                                                 person who, having been served, l'ails without adequate exouse to obey the
                                                                                            snbpocna or an ordcr relatcd to it.



                                                  F'or access to subpoena materials, see Fed. R. civ. P. 45(a) cornmittce Note (2013)
t]zs'.t0    2570   -   Case     17-01393-RAM
                       to Produoe
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                                                                                          Case 6
                                                                                               or of 54

                               NITED       Srarps             ANKRUPTCY                    URT
                                          SOUTI{ERN DISTRICT OF FLORIDA
                                                  Miami Division
In re:
JADE WrNDS ASSOCTATTON, INC.,                                              cAsE NO. 15-17570-RAM
                                                                           Chapter l1
JADE WINDS ASSOCIATIONO INC',
     Plaintiff,                                                            ADV. NO. 17-01393-RAM

FIRSTSf,RVICE RESIDENTIAL FLORIDA, INC., etc.


        suBpoENA TO PRODUCE DOCUMENTS,INFORMATION, OR OBJECTS OR TO PERMIT
       INSPECTION OF'PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To:        DOIINA TOLLEFSEN ("&@1")
           1750 NE 191 Street, Unit 829
           North Miami Beach, FL33179

 X   Production: YOU ARE COMMAI\DED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
the material: See attached SCFIEDULE A for instructions and requests for document production.

PLACE: Stearns Weaver Miller Weissler Alhadeff & Sitterson' P.A.               DATE AND TIME:
             c/o Kristopher E. Pearson, Esq.
             Museum Tower, Suite 2200                                          December 21,2018 at 5:00 p.m.
              150 West Flagler Street
             Miami, FL 33130

 n   Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, .land, or other
p-p..fy posressid or controlled by you at the time, date, and location set forth below, so that the requesting party may
inspect, measure, survey, photographo test, or sample the properly or any designated object or operation on it.

 PLACE:                                                                        DATE AND TIME:


     The following provisions of Fed. R. Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P' 9016, are
 attached - Rule iS(c1, relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), ielating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date:     December 6.2018

            CLERK OF COURT
                                                         OR

            Signature of Clerk or Deputy Clerk

The name, address, email address, and telephone number of the attorney representing FirstService Residential
Flori{a, Inc., who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Miller' et
al., 150 W. Flagler Street, Suite 2200, Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If this subpoena commands     the production of documents, electronically stored information, or tangible things, or the
inspection bf premises before triil, a notice and a copy of this subpoena must be seryed on each party before it is served
on the person to whom it is directed. Fed. R' Civ' P. as(aXa).
                               Case 17-01393-RAM                       Doc 134           Filed 12/10/18               Page 7 of 54
                        Subpoena to producc Documcnts, Infbrmation, or Objccts or To Perrnit lnspection in a Bankruptcy Casc
                                                                                                                             or Adversarv Proceedine) (   l2ll 5)
82570 (Form 2570    -
                         Federal Rule of civil Procedure 45(c), (d), (e), and (g) (Effective l2llll3)
                (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                                (ii) disclosing an unretained expert's opinion or infbrmation that
(c) Placc of compliance.                                                               does not describe specific occurrences in dispute and results from the
                                                                                       expert's study that was not requested by a party,
    (1) For a Trial, Hearing, or Deposition. A sttbpoena may command a                      (C) Specifling Conditittns as an Ahemativa ln the circnmstances
person to attend a trial, hearing, or deposition only as follows:                      described in Rule 45(d)(3XB), the court may, instead ofquashing or
      (A) within 100 miles of where the person resides, is employed, or                modifying a subpoena, order appearalce or production under specified
regularly transacts business in person; or
  -                                                                                    conditions ifthe serving pafiy:
      (B) within the state where the person resides, is ernployed, or regularly                  (i) shows a substantial need lbr the testimony or material that
transacts business in person, ifthe person                                             cannot be otherwise tnet without undue hatdship; and
          (i) is a party or a Party's officer; or                                                (ii) ensures that the subpoenaed person will be reasonably
          (ii) is commanded to attend a trial and would not incur substantial           compensated.
€xpellse.
                                                                                        (c) Duties in Rcsponding to a Subpoena.
     (2) For Other Discovery. A subpoena may cotnmand:
      (A) production of documents, or electronically stored information, or                (1) Producing Documents or Electronically Stored InJbrmation. These
things at I placc within 100 miles of where the person resides, is employed,           procedures apply to producing documenls or electronically stored
or regularly transacts busiuess in person; and                                          in/ormation:
       (B) inspection of'premises, at the premises to be inspected.                          (A) Documents, A person rcsponding to a subpoena to produce
                                                                                        doournents nrust produoe them as they are kept in the ordinary course of
(d) Protectiug a Persotr Subject to a Subpoena; Enforcement.                            busincss or must organize and label them to correspond to the categories     in
                                                                                        the demand.
       (1) Avoiding [Jndue Burden or Experse; Sanctions' A party or attorney                 (B) Formfor Producing Electronically Stored InJbrmation Not
respontible for issuing and serving a subpoena must take reasonable steps to            Specfied. If a subpoena does uot specifr a form for producing electrorlically
a.viid imposing undae burden or expense on a person subject to the                      stored infonnation, the person responding must produce it in a fonn or fonls
 sr,rbpoena. The court for the disttict where compliance is required must               in which it is ordinarily maintained or in a rcasonably usable form or forms
enforce this du.ty and impose an. appropfi.tte sanction *^which may include                   (C) Electronically Stored Information Produced in Only One Form.
 lo'st earnings and reasonable attorney's fees   on a parry or attorney utho            The person rcsponding need not produce the samc elcotronically stored
                                                 -                                      information in more than one form,
fitils to comply.
     (2) Command to Produce Materials or Permit Inspection-                                  (D) Inaccessible Electronically Stored Information The person
       (A) Appearance Not Required. A person commanded to produce                       responding need not provide discovery ofelectronically stored infonnation
dooumentJ, electronically stored information, or tangible things, or to permit          from sowces that the person identifies as not reasonably accessible because
thc inspection ofpremises, necd not appear in person at the place of                    ofundue burden or cost. On motion to compel discovery or for a protective
produciion or inspection unless also commauded to appear for a deposition'              order, the persou responding must show that the information is not
hearing, or trial.                                                                      reasonably acccssible because ofundue burden or cost. Ifthat showing is
       (il) Objections. A person commanded to produce documenls or tangible             made, the court may nonetheless order discovery from suoh souroes ifthe
things or to permit inspection rnay serve on the party or attomey designated            requesting party shows good cause, considering the limitations o1'Rule
in the subpoena a writtcn objection to inspecting, copying, tcsting or                  26(bX2XC). The court may specifr conditious for the discovery.
sampling rury or all of the materials or to inspecting the premises    or to
                                                                      -
proriucirig eicctronically storsd information in the form or forms requested.                (2) Claiming Privilege or Prolection.
The objection mnst be served before the earlier ofthe time specified for                       (A) InJbrmation llithheld. A person withholding subpoenaed
compliance or 14 days after the subpoena is served. Ifan objection is made,             information under a claim that it is privileged or subject to protection as trial-
the following rules apply:                                                              preparation material must:
           (i) At any time, on notice to the commanded person' flre serving                         (i) expressly makc the claim; and
party may move thc court for thc district whcre compliance is rcquircd for an                       (ii) describe the nature ofthe withheld docurnents,
order compelling production or inspection.                                              communications, or tangible things in a manner that, without revealing
           1ii; fnese aots may be required only as dirccted in the ordet,
                                                                          and           information itselfprivileged or protected, will enable the parties to assess the
the orcler must protect a person who is neither a party nor a party's officer           claim.
frorn signilicant expense resulting frorn compliance.                                          (B) Infornation Produced. lfinformation produced in response to a
                                                                                        subpoena is subject to a olaim ofprivilege or ofproteotion as trial-
    (3) Quashing or ModiJying a Subpoena.                                               preparation material, the person making the claim may notifu any party that
         j
      @ When Required. On timely motion,
                                                the court for the district where        received the infomration ofthe claim and the basis for it. After being
 compliance is required must quash or modify a subpoena that:                           notilied, a party must promptly retum, sequester, or destroy the specified
          (i) fails to allow a reasonablc timc to comply:                                information and any copies it has; must not use or disclose the iufonnation
          (ii) requires a person to comply beyond the geographical limits                until the claim is resolved; must take reasonable steps to retrieve the
 spccitied in Rule 45(c):                                                                information if the party disclosed it before being notified; and may promptly
          (iii) requires disclosure ofprivileged or other protected matter, ifno         present the information under seal to the court for the district where
 exception or waiver apPlies; or                                                         compliancc is required for a determination of the claim, The person who
          (iv) subjects a person to undue burden.                                        produoed the infonnation nust preserve the information until the clain is
      (B) When Permitted. To protect a person subject to or affected by a                resolved.
 subpoena, the court for the district where cotnpliance is required may' on
 motion, quash or modiff the subpoena if it requires:                                    (g) Contempt. The court for the district where compliance is required - and
          (i) disclosing a trade secret or other confidcntial research'                  also, after a motion is trattsfeued, the issuing court - rnay hold in contempt a
 development, or cornmercial infonnation; or                                             person who, having been served, l'ails without adequate excuso to obey the
                                                                                         subpoena or an ordcr relatcd to it.




                                               For access to subpoena materials, see Fcd. R. Civ       P. 45(a) Cornmittee Notc   (20i3)
                       Case     17-01393-RAM          Doc 134       Filed 12/10/18
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tsz''.t0    2570   -   to Produce l)ocunrents,       of    or'l'o Permit

                           Umrpp             TATES BANTNUPTCY COUNT
                                          SOUTHERN DISTRICT OF FLORIDA
                                                          Miami Division
In re:
JADE WrNDS ASSOCTATION' rNC.o                                                  CASE NO. 15-17570-RAM
                                                                               Chapter   11

JADE WII\DS ASSOCIATION, INC.,
     Plaintiff,                                                                ADV. NO. 17-01393-RAM

FIRSTSERVICE RESIDENTIAL FLORIDA, INC., etc.


        SUBPOENA TO PRODUCE DOCUMENTS,INF'ORMATION, OR OBJECTS OR TO PERMIT
       INSPECTION OF'PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To:        EDWARD VELAZQUEZ ("M,4!")
           1710 NE 191 Street, Unit 114
           North Miami Beach, FL33179

X   production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
the material: See attached SCHEDULE       4 for   instructions and requests for document production.

PLACE: Stearns Weaver Miller Weissler Alhadeff & Sitterson' P.A.                  DATE AND TIME:
             c/o Kristopher E. Pearson, Esq.
             Museum Tower, Suite 2200                                             December 21,2018 at 5:00 p.m.
              150 West Flagler Street
             Miami, FL 33130

 n   Inspection of premises: YOU ARE COMMAI{DED to permit entry onto the designated premises, land, or other
property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
inspect, measure, survey , photograph, test, or sample the properly or any designated object or operation on it.

PLACE                                                                              DATE AND TIME


     The following provisions of Fed. R. Civ. P,45, made applicable in bankruptcy cases by Fed. R. Bankr. P.9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date:     December 6" 2018

             CLERK OF COURT
                                                            OR

            Signature of Clerk or Deputy Clerk                             A


The name, address, email address, and telephone number of the attorney representing FirstService Residential
Flori6a, Inc., who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Miller' et
al., 150 W. Flagler Street, Suite 2200, Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the produrction of documents, electronically stored information, or tangible things, or the
inspection bf premises before trial, a notice and a copy of this subpoena must be seryed on each party before it is served
on the person to whom it is directed. Fed. R' Civ' P. as(aXa).
                               Case 17-01393-RAM                      Doc 134         Filed 12/10/18              Page 9 of 54
82570 (I.'orm 2570 - Subpoena to Produce Documents, lnfonnation, or Objects or'I'o Permit Inspection in a B.mkruptcy Case or Adversary Proceedirtg) (12115)

                             x'ederal Rule of civil Procedure 45(c), (d), (e), and (g) (Effective l2lll13)
                    (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                               (ii) disclosing an unretained oxpert's opinion or infbnnation that
(c) Place of compliance.                                                             does not describe specific occuffences in dispute and results frorn the
                                                                                     expert's study that was not requested by a party.
     (1 ) For a Trial, Hearing, or Deposition. A subpoena may command a                    (C) Specr/ying Conditions as an llternative. In the circumstances
person to attend a trittl, hearing, or deposition only as follows:                   described in Rule 45(d)(3XB), the court may, instead ofquashing or
       (A) within 100 miles of where the petson resides, is enrployed, or            rnodifying a subpoena, order appealance or production uncler specif.ied
regularly transacts business in person; or                                           conditions   ifthe serving party:
       (ts) within the state where the person resides, is employed, or regularly              (i) shows a substantial need for the testimony or mnterial that
transacts business in person, ifthe person                                           camrot be otherwise met without undue hardshipl and
            (i) is a party or a party's officer; or                                          (ii) ensures that the subpoenaed person     will   be reasonably
            (ii) is conmanded to attend a trial and would not incur substantial      compensated.
expense.
                                                                                     (c) Dutics in llesponding to a Subpocna.
     (2)   I'or Other Discovery. A subpoena may command:
      (A) production ofdocuments, or electronically stored infbnnation, or               (l) Producing Documents or Eleclronically Stored lnformation. These
things at a place within 100 rniles of where the person resides, is employed'        procedures apply to producing documenls or electronically stored
or regularly transacts business in person; and                                       inJbrmation:
      (B) inspection of prcmiscs, at the premises to be inspected'                         (A) Documents. A person responding to a subpoena to produce
                                                                                     documents must ploduce them as they are kept in the ordinary course of
(d) Protecting a Person Subject to a Subpoenal Enforcement.                          business or nrust organize ancl label them to oonespond to the categories in
                                                                                     the demand.
     (1) Avoiding Undue Burden or Etcpense; Sanctions' A pdrty or attorney                  (B) F'orm.for Producing Electronically Stored Information Not
responsible for issuing and serving a subpoena must take reasonahle steps to         SpectJied. Ifi a subpoena does not specify a firrm for producing electronically
avoitl imposing undue burden or expense on a person subiect to the                   stored information, the person responding must produce it in a fonn or fonns
subpoena. T'he courtfor the districtwhere compliance is required ntust               in which it is ordinarily maintained or in a reasonably usable form or fonns.
enforce this cluty and impose an appropriate sanction *" which may include                  (C) Electronically Stored Information Produced in Only One Form.
lost earnings and reasonttble atlorney's fees  on a party ot attorney who            The person responding need not produce the sarne electronically stored
                                               -
Jitils to comply.                                                                    infilrmation in more than one f'orm.
     (2) Command to Produce Materials or Permit htspection'                                 (D) Inaccessible Electronically Stored Information The person
       (A) Appearance Not Required. A person commanded to produce                    responding need not provide discovery ofelectlonically stored information
documents. electronically storecl infonnation, or tangible things, or to permit      from sources that the person identifies a^s not rea^sonably accessible because
the inspection ofpremises, need not appem in person at the place of                  ofundue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appeal for a deposition,           ordern the person responding must show that the inlormation is not
hearing, or trial,                                                                   reasonably accessible because ofundue burden or cost. Ifthat showing is
       (Il) Obiections. A person commanded to ptoduce documents or tangible          made, the court may nonetheless order discovery from such sources ifthe
things or to pernit inspection may serve on the party or attomey designated          requesting party shows good cause, considering the lirritations ofl{ule
in the subpoena a writtcn objection to inspecting, copying, testing or               26(bX2)(C). The court rnay specifu conditions for the discovery.
sampling any or all of the materials or to inspecting the premises       or to
                                                                     -
proclucing electronically storecl information itr the fotrn or founs requested.          (2) Claiming Privilege or Protection,
The objection must be sewed befbre the earlier of the tirne specificd for                  (A) InJ'ornation ll/ithheld. A pcrson withholding subpoenaed
compliance or 14 days after the subpoena is served. Ifan objection is made,          infoirnation under a claim that it is privileged or subject to protection as trial'
the following rules apply:                                                           preparation material must:
            (i) At any time, on notice to the commanded person, the serving                     (i) expressly make the claim; and
pnrty may move the conrt for the district where compliance is required for an                   (ii) describe the nature of the withheld documents,
order compelling production or inspeotittn.                                          conrmunications, or tangible tltings in a nranner that, without revealing
            (ii) These acts may be required only as directed in the order, and       information itselfprivileged or protected, will enable the parties to assess the
the order must protect a person who is neithel a party nor a party's oflicer         claim.
f'rorn significant expcnse rcsulting fiotn compliance.                                     (B) .Information Produced. If information produced in rcsponse to a
                                                                                     subpoena is subiect to a claim ofprivilege or ofprotection as trial-
    (3) Quashing or Modifuing a Suhpoena.                                            preparation materialo the person rnaking the claim nay uotify any party that
     (A) When Required. On tirncly motion, the court for the district where          rcceivcd the information of the clairn and the basis fbr it. After being
compliance is required must quash or modify a subpoena that:                         notified, a party must promptly return, sequester, or deslroy the specified
          (i) fails b allow a reasonable time to cornply;                            infonnation and any copies it has; murit not use or clisolose the information
          (ii) requires a person to cornply beyond the geogvaphical limits           until the claim is resolved; must take reasouable steps to retrieve the
specified in Rule 45(c);                                                             information if the party disclosed it before being notified; and may promptly
          (iii) requires disclosure ofprivileged or other protected matter, ifno     present the inftrrmation under seal to the court firr tlre district where
exception or waiver applies; or                                                      compliance is required for a determination of the claim. The person rvho
          (iv) subjects a person to unclue bulden'                                   produced the infoimation must preserve the information until the claim is
      (B) When Permitted. To protect a person subject to or affectcd by a            resolved.
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena ifiit requires:                                 (g) Contempt. The coutt for the clistrict where cornpliance is requilecl - and
          (i) disclosing a trade secret or othcr confidential rescarch,              also, alter a motion is transferred, the issuing court - may hold in contetnpt a
development, or commercial information; or                                           person who, having been served, fails without adequate excuse to obey the
                                                                                     subpoena or an orcler related to it.




                                             For access to subpocna tnatcrials, sec Fed, R. Civ. P. 45(a) Comnittee Note (2013)
ts2s'.t0     2570   -   Case     17-01393-RAM
                         to Produce                 Doc 134
                                                   or           Filed 12/10/18
                                                         or To Permit     lll a       Page 10
                                                                                            or of 54

                                UmrBp         TATES BANTNUPTCY                            OURT
                                            SOUTHERN DISTRICT OF FLORIDA
                                                        Miami Division
In re:
JADE WINDS ASSOCIATION, INC.,                                              cAsf, No. 15-17570-RAM
           Dehfor.                                                         Chapter   11
JADE WINDS ASSOCIATION, INC.,
     Plaintiff,                                                            ADV. NO.17-01393-RAM
V.
FIRSTSERVICE RESIDENTIAL FLORIDA, INC.' etc.


        suBpoENA TO PRODUCE DOCUMENTS,INFORMATION, OR OBJECTS OR TO PERMIT
       INSPECTION OF'PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To:        EVA LOTSOS ("Djlonen!")
           1750 NE 191 Street, Unit 821-3
           North Miami Beach, FL33l79

 X   Production: YOU ARE COMMAi\DED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
the material: See attached SCF{EDULE A for instructions and requests for document production.

 PLACE: Stearns Weaver Mitter Weissler Alhadeff & Sitterson' P.A.              DATE AND TIME:
              c/o Kristopher E. Pearson, Esq.
              Museum Tower, Suite 2200                                         December 21,2018 at 5:00 p.m.
               150 West Flagler Street
              Miami, FL 33130

 n    Inspection of Premises: YOU ARE COMMAI\DED to permit entry onto the designated premises, land, or other
 properly possessed or controlled by you at the time, date, and location set forth below, so that the requesting parlry may
 inspect, measure, suryey, photograph, test, or sample the properly or any designated object or operation on it.
 PLACE:                                                                        DATE AND TIME


      The following provisions of Fed. R. Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P.9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date:     December     201 8


             CLERK OF COURT                                                                           --5.4)
                                                          OR

             Signature of Clerk or Deputy Clerk                                 t
The name, address, email address, and telephone number of the attorney representing FirstService Residential
Floricla, Inc.o who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Millero et
al., 150 W. Flagler Street, Suite 2200, Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If this subpoena  commands the production of documents, electronically stored information, or tangible things, or the
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on the person to whom it is directed. Fed. R. Civ. P. as(aXa).
                              Case 17-01393-RAM Doc 134 Filed 12/10/18                                            Page  11 of 54
                                                                                                                     Case or Adversary Proceeding) 02/rs\
82570 (FoLm 2570     - SubDoena to Produce Documents, lnfonnation, or Objeots or To Permit Inspection irr a
                                Federal Rule of                             (g) (Effective l2/lll3)
                                                        civil Procedure 45(c)o (d), (e), and
                 (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                               (ii) disclosing an unretained expert's opinion or infbnnation that
(c) Place of conrpliance.                                                            does not describe specific occurences in dispute and results frorn the
                                                                                     expert's study that was not requested by a party.
     (t) For a Trial, Hearing, or Deposition. A subpoena may cotnmand a                    (C) Speci/ying Conditions cts an llternative.In the circutnstances
person Io attend a tfial, hearing, or deposition only as follows:                    described in Rule 45(d)(3)(B), the court may, instead ofquashing or
       (A) within 100 rniles of where tlte person resides, is employed, or           rnodifying a subpoena, order appeatance or lrroduction under specified
regularly transacls business in pcrson; or                                            conditions   ifthe serving party:
       (ts) r,vithin the state where the person resides, is employed, or regularly             (i) shows a substantial need for the testimony or material that
transacts business in person, ifthe persol                                            carurot be otherwise met without undue hardship; and
            (i) is a party or a party's officer; or                                             (ii) ensures that the subpoenaed person will be reasonably
            (ii) is commancled to attend a trial and would not incur substantial      compensated.
expense.
                                                                                      (c) Dutics in llesponding to a Subpoena'
     (2)   !'or Other Discotery. A subpoena may contmand:
      (A) production ofl documents, or clectronically stored infonnation, or             (t) Producing Documents ar Electronically Stored Information. These
things at a place within 100 miles of rvhere the petson resides, is employed,        procedures apply to producing, documenls or eleclronically stored
or regLrlarly transacts business in person; and                                      inJbrmation:
      (B) inspection of premises, at the premises to be inspected'                         (A) Documents. A person responding to a subpocna to producc
                                                                                     clocuments must produce them as they are kept in the ordinary course of
(d) Protecting a Person Subject to a Subpoena; finforcement.                         bnsiness or must organize ancl label them to corresponcl t<t the categories in
                                                                                      the demand.
       (1) Avoiding Undue Burden or Expense; Sanctions. A porty or attorney                 (B) t:'orm.for Producing Electronically Stored lnformation Not
responsiblefor issuing and serving a subpoena must take reasonahle steps to           Specified. Ifi a subpoena does not specify a f'orm for producing electronically
avoicl imposing undue burden or expense on a person sttbiect to the                   stored information, the person responding must produce it in a fonn or fonns
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            this cluty and impose an apprcpriate sanction -- which may include              (C) Electronically Stored In/brntation Produced in Only One Form
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 lo-st earnings and reasonable altorney's.fees     on a party or attorney who         The person responding need not produce the same electronically stored
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Jirils to comply.                                                                     infilrmation in more than one f'orn.
     (2) Command to Produce Materials or Permit lnspection.                                  (D) Inaccessible Electronically Stored Information The person
      (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery ofelectronically stored infomration
documents,llectronically stored infonnation, or tangible things, or to permit         frorn sources that the person identifies as not reasonably accessible because
the inspection ofpremises, need not appear in person at the place of                  ofundue burden or cost. On motion to compel discovery or for a protective
procluction or inspection unless also commanded to appear for a deposition,           ordern the person responding must show that the infomration is not
hearing, or trial.                                                                    reasonably accessible because ofundue burden or cost. Ifthat showing is
      @) Obiections, A person commanded to produce documents or tangible              made, the court may nonetheless order discovery from such sources ifthe
things or to permit inspection may serve on the party or attomey designated           requesting party shows good cause, considering the limitations ofl{ule
in the subpoena a written objection to inspecting, copying, testing or                26(bX2)(C). The court rnay speciff conditions for the discovery.
sampling any or all of the rnaterials or to inspecting the premises     or to
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prociucing elechonically stored infornration in the fonn or fonns requestecl.             (2) Claiming Privilege or Protection.
The objection must be served hefbre the earlier ofthe tirne specified for                  (A) InJbrmation Withheld. A pcrson withholding subpoerraed
compliance or 14 days after the subpoena is served' Ifan obiection is made,           infomation under a claim that it is privileged ol subject lo protection as trial-
the following rules apply:                                                            preparation material must:
          (i) At any time, on notice to the cotrunanded person, the serving                    (i) expressly rnake the claim; and
party may move the court for the district where compliance is required for an                  (ii) describe the nature of the witlrheld documents'
order compelling production or inspection.                                            conrmunications, or tangible things in a nranner that, without revealing
          1ii; ttrese acts may be required only as directed in the order, and         information itselfprivileged or protected, rvill enable the parties to assess the
the order must protect a person who is neithel a party nor a party's officer          claim.
fiorn significant expense resulting fiorn compliance.                                       (B) lnformation Produced.If infcrrmation produced in rcsponse to a
                                                                                      subpoena is subiect to a claim ofprivilege or ofprotection as trial-
    (3) Quashing or Modifuing a Subpoena.                                             preparation material, the person rnaking the clainr may notify ury palty that
     @f llhen Required. On tincly motion, the coutt fbr the dishict wherc             receivcd the information of the clairn and thc basis fbr it. After being
contpliance is requiled must quash or modify a subpoena that:                         notified, a party must promptly retum, sequester, or destroy the specilied
         (i) fails to allow a reasonable tinre to comply;                             infonnation and any copies it has; must not use or disclose the infornration
          (ii) requires a person to comply beyond the geographical limits             until the claim is resolvcd; must take reasonable steps to retrieve the
specihed in Rule 45(c);
 ^                                                                                    information if the party disclosed it before being notified; and may pronptly
          (iiD requires disckrsure ofprivileged or other protected matter, ifno       present the information turder seal to the coutt firr the district where
exception or waiver applies; or                                                       compliance is required for a determination ofthe clairn. The person rvho
           (iv) subjects a person to undue burden.                                    ploduced the infotmation must preserve the information until the claim is
       (B) When Permitted. To protect a petson subject to or affected by a            resolved.
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:                                  (g) Contempt. The oourt for the clistrict rvhere cornpliance is required - and
         (i) disclosing a trade secret or othcr confidential rcsearch,                also, after a motiou is transfened, thc issuing court - may hold itr contempt a
 developnent, or commercial infomration; or                                           person who, having been served, fails without adequate excuse to obey the
                                                                                      subpoena or an order related to it.




                                               For access to subpocna rnaterials, soe Fed. R. civ. P. 45(a) committee Note (2013)
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132570     2570   -    to Produce                  of    or To Permit


                              NITED          TATES BANTNUPTCY                       Counr
                                          SOUTMRN DISTRICT OF FLORIDA
                                                 Miami Division
In re:
JADE WII\DS ASSOCIATION, INC.,                                            cAsE NO. 15-17570-RAM
                                                                          Chapter l1
JADE WINDS ASSOCIATION, INC.,
     Plaintiff,                                                           ADV. NO. 17-01393-RAM

FIRSTSERVICE RESIDENTIAL FLORIDA, INC.' etc.


         suBpoENA TO PRODUCE DOCUMENTS,INFORMATION, OR OBJECTS OR TO PERMIT
        INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To:       FLORENCE PORETSKY ("@!")
          1660 NE 191 Street, Unit 309
          North Miami Beach, FL33179

X    production: yOU ARE COMMAI\DED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
the material: See attached SCF{EDULE A for instructions and requests for document production'

PLACE: Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A.               DATE AND TIME:
             c/o Kristopher E. Pearson, Esq'
             Museum Tower, Suite 2200                                          December 21,2018 at 5:00 p.m.
              150 West Flagler Street
             Miami, FL 33130

I    Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
inspect, measure, survey, photograph, test, or sample the properly or any designated object or operation on it.
PLACE:                                                                         DATE AND TIME:


     The following provisions of Fed. R. Civ' P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequenoes of
 not doing so
 Date     December 6-2018

           CLERK OF COURT
                                                         OR

           Signature of Clerk or Deputy Clerk

The name, address, email address, and telephone number of the attorney representing FirstService Residential
Floridar Inc., who issues or requests this subpoena, is Kristopher E. Pearson, Esq., Stearns Weaver Miller' et
al.o 150 W. Flagler Street, Suite 2200, Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
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                                   Case 17-01393-RAM                    Doc 134            Filed 12/10/18                 Page  13 of 54
                                                                                                                            Case or Adversarv Proceedine) (       2/1 5)
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                            Federal Rule of civil Procedure 45(c), (d), (e), and (g) (EtTective l2lll13)
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                                                                                                    (ii) disclosing an unretained expert's opinion or in{bnnation that
(c) Place of compliancc.                                                                  does not describe specific occurences in dispute and results frorn the
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                                                                                           the demand.
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enforce tltis duty and impose an appropriate sanction --- which may include                      (C) Electronically Stored Infnrmation Produced in Only One Form.
 loit earnings and reasonuble altotney's fees   on a party or attorney who                 The person responding need not produce the sarne electronically stored
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        (A) Appearance Not Required. A person commanded to produce                         responding need not provide discovery of electronically stored inlbmration
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prociucing eiectronically stor.ed information in the foun or forms requestecl.                 (2) Clairning Privilege or Protection.
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           1ii; fnese acts may be required only as directed in the order,
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the orcler must protect a person who is neither a party nor a party's officer              claim.
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                                                                                           subpoena is subject to a claim of privilege or of protection as tr ial'
   (3) Quashing or Modifuing a Subpoena.                                                   preparation material, the person rnaking the clainr nray notify tury pafty that
     Qtl llthen Required. On tirnely motion, the coutt for the dish'ict where              received the information of the clairn and the basis fbr it, After being
compliance is required must quash or modify a subpoena that:                               notified, a pafly must promptly retum, sequester, or destroy the specified
          (i) fails to allow a reasonable time to cornlrly;                                infonnation and any copies it has; must not use or disclose the infomation
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specified in Rule 45(c);                                                                   information if the party disclosed it before being notified; and may promptly
          (iii) requires disckrsure ofprivileged or other protected mattel', ifno          present the inftrrmation under seal to the court firr the district where
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              (iv) subjects   a person   to undue burden.                                  produced the information must preserve the information until the clain is
        (B) lVhen Permitted. To protect a person subject to or affected by a               resolved.
 subpoena, the court for the district where compliance is required may, on
 rnotion, quaslr or modify the subpoena ifit requires:                                      (g) Contempt. The court for the district where cotnpliance is requiled    - and
           (i) disclosing a trade secret or other confidential research,                   also, alter a motion is transferred, the issuing court - may hold in cotrternpt a
 development, ot' commercial information; or                                               person who, having been served, fails without adequate excuse to obey the
                                                                                           subpoena or an otder related to it.




                                                   For acccss to subpocna lnaterials,   soe Fed, R.   civ.   P. 45(a) Comntittee Note (2013)
 ts.25',10       2570   -   Case     17-01393-RAM
                             to Produce
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                                                                                               or of 54

                                    UNIrpp       TATES BANTNTTPTCY COUNT
                                              SOUTIIERN DISTRICT OF FLORIDA
                                                       Miami Division
 In re:
JADE WrNDS ASSOCIATION, rNC.,                                               cAsE NO. 15-17570-RAM
              Debtor.                                                       Chapter    11
JADE Wu\DS ASSOCTATTON, rNC.,
     Plaintiff,                                                             ADV. NO. 17-01393-RAM

 FIRSTSERVICE RESIDENTIAL FLORIDA, INC.,                    EtC.
               T)efendanf

             suBpoENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF'PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

 To            JEAII LOUIS DUBOIS ("Dg!@!")
               1750 NE 191 Street, Unit226
              North Miami Beach, FL33179

 X    Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
 the material: See affached SCFIEDULE A for instructions and requests for document production.

 PLACE: Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A.               DATE AND TIME:
              c/o Kristopher E. Pearson, Esq.
              Museum Tower, Suite 2200                                          December 21,2018 at 5:00 p.m.
               150 West Flagler Street
              Miami, FL 33130

 I    Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
 property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
 inspect, measure, suryey, photograph, test, or sample the property or any designated object or operation on it.
 PLACE:                                                                         DATE AND TIME


     The following provisions of Fed. R. Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bank. P.9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date:         December     201 8


                 CLERK OF COURT
                                                            OR

                 Signature of Clerk or Deputy Clerk                     Attornef

The name, address, email address, and telephone number of the attorney representing F'irstService Residential
Florida, Inc., who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Miller, et
al., 150 W. Flagler Street, Suite 2200, Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                                Notice to the person who issues or requests this subpoena
If this subpoena  commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be serued on each party before it is served
on the person to whom it is directed. Fed. R. Civ. P. as(a)(a).
                                      Case 17-01393-RAM                      Doc 134
                             Subpoena to produce Docunrents, lnformation, or Objects or
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                                                                                        'l'o Permit lnspection in a Bankntptcv Case or Adversarv Proceedins) ( I 2/l 5)
82570 (F'ornt 2570       -

                           Federal Rule of civil Procedure 45(c)o (d), (e), and (g) (Eft'ective l2llllS)
                  (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                                         (ii) disclosing an unretained expert's opinion or infonnation that
(c) Plrce of compliancc.                                                                       does not desoibe specific occulrences in dispute and results frorn the
                                                                                               expert's study that was not requested by a party'
     (t) For a Trial, Hearing, or Deposition. A. subpoena may command a                              (C) Specifying Conditions as an Altemative. In the circumstanccs
person to attend tt trial, hearing, or deposition only as follows:                             described in Rule 45(dX3)(B), the court may, instead ofquashing or
       (A) within 100 miles of where the petson resides, is employed, or                       rnodifying a subpoena, order appearanoe or production under specilied
regularly transacts busincss in person; or                                                     conditions   ifthe serving patty:
  -    (ts) within the state where the person resides, is employed, or regularly                          (i) showsa substantial need for the testimony or material that
transacts business in person, ifthe person                                                     canuot be otherwise met without undue hardship; and
            (i) is a party or a party's officer; or                                                     (ii) ensures that the subpoenaed person will be reasonably
            (ii) is commancled to attend a trial and would not incur substantial               compensated.
expense.
                                                                                               (c) Dutics in llcsponding to a Subpocna.
     (2) F'or Other Discovery. A subpoena ntay command:
      (A) production ofi documents, or electronically stored infbnnation, or                       (l)   Producing Documents or Electronically Stored Irformatioil' These
things at i place within 100 rniles of rvhere the person resides, is employed'                 .procedures apply to producing tlocuments or electrttnicall)t
                                                                                                                                                             stored
or regirlarly transacts business in person; and                                                information:
      (B) inspection of premiscs, at the premises to be inspected.                                  (A) Documents. A person responding to a subpoena to produce
                                                                                               documents must produce them as they are kept in the ordinary course of
(d) Protecting       R   Person Subject to a Subpoenal Enforcement.                            business or must organize and label them to correspond to the categories in
                                                                                               the demand.
      (1) Avoiding Undue Burden or Expense; Sanctions, A pctrty or attorney                         (B) t'orm for Producing Electronically Stored Informdtiotx Not
responsible   for issuing and serving a subpoena must take reasonable steps to                 SpeciJied. Ifia subpoena does not specify a firrm for producing electronically
aviicl itnposing undue burden or expense on a persot', subiect to the                          siored information, the person responding must produce it in a fonn or fonns
subpoena. I'he courtfor the district where compliance is reqttired must                        in which it is ordinmily maintained or in a reasonably usable lorm or fonns.
urr|orrc this duty and intpose an appropriate sanction --- which may include                         (C) Electronicatly Stored Infortnation Produced in Only One Form.
 lost earnings and reasoiable attomey's /ees     on a party or (tttorney who                   The person responding need not produce the sarne electronically stored
                                                       -
.fitils to complv.                                                                             infirrmation in more tlran one fitrm.
     (2) Command to Produce Materials or Permit.lnspection'                                          (D) Inaccessible Electonically Stored lrtformation The person
      (A) Appearance Not Required' A person commanded to produce                               responding need not provide discovery ofelectronically stored infomration
documents, electronically store<l infonnation, or tangible things, or to permit                froin sources that the person identifies a's not reasonably accessible because
the inspection ofpremises, need not appear in person at the place of                           of undue bwden or cost. On motion to compel discovery or for a protective
procluction or inspection unless also comrnanded to appeal for a deposition,                   order, the person responding must show that the infomration is not
hearing, or trial.                                                                             reasonably accessible because ofundue burden or cost. Ifthat showing is
       (-B)   Obiections.A person commanded to produce documents or tangible                   made, the court may nonetheless order discovery fi'om such sources ifthe
thingi or to permit inspection may serve on the party or attorney designated                   requesting party shows good cause, considering the limitations ofltule
in the subpoena    a written objection to inspecting, copying, tcsting or                      26(bX2)(C). The court rnay speciff conditions for the discovery.
sampling any or all of the tnaterials or to inspecting the premises       or to
prociuoing eiectronically stored infomration in the fonn or fonns requested'
                                                                             -        .

                                                                                                    (2) Clairning Privilege or Protection.
The objeJtion must be served befbre the carlier ofthe tirne specificd for                            (l) InJbrmation Withheld. A pcrson withholding subpoenacd
compliance or I 4 days after the subpoena is served' If an obiection is made,                   infomation under a clairn that it is privileged ol subject to protection as trial'
the folkrwing rules apply:                                                                      preparation material nust:
           (i) At any time, on notice to the comrnanded person, the serving                              (i) expressly make the claim; and
party may inove the co'rt for the district where complia'ce is required for an                           (ii) describe the nature of the withheld documents'
order compelling procluction or inspection'                                                     communications, or tangible things in a murner that, rvithout revealing
           1ii; fnisi acts may be required only as directed in the order,
                                                                            and                 information itselfprivileged or protected, r,vill enable the parties to assess the
the orcler nust protect a person who is neither a party nor a party's officer                   claim.
fiom significant expense resulting fiorn compliance.                                                  (B) Information Produced. If information produced in response to a
                                                                                                subpoena is subiect to a claim ofprivilege or of protection as trial'
     (3) Quashing or Modifying a Subpoena.                                                      preparation material, the person rnaking the claim may notify any party that
      irtl Wnrn Required. On tirncly motion, the coutt for the district wherc                   ieceived the information of the clairn and the basis fbr it. After being
 cornpliance is required must quash or modify a subpoena that:                                  notified, a pady must promptly return, sequestel', or destroy the specilied
           (i) fails t<l allow a reasonable time to comply;                                     infonnatioir and any copies it has; must not use or clisclose the information
           (ii) requires a person to comply beyond the geographical limits                      until the claim is resolvcd; must take reasonable steps to retrieve the
 specified in Rule 45(c);
  '                                                                                             information if the party disclosed it before being notified; and may pron, ptly
           (iiD requires discklsrne ofprivileged or other protected matter, ifno                present the infirrmation tmder seal to the court firr the district where
 exception or waiver applies; or                                                                compliance is required for a determination of the clairn' The person who
           (iv) subjects a person to undue burden.                                              produced the information must preserve the information until the claim is
       (B) Ilthen Perm itted. To protect a person subject to or affccted by a                   resolved.
 subpoena, the court for the district where compliance is required may, on
 rnotion, quash ol modify the subpoena ifiit requires:                                          (g) Contempt. The court for the district where cornpliance is requit'ecl- and
           li) disctosing a trade secret or othcr conhdential research,                         also, after a motion is transfelred, the issuing coutt - tnay hold in conternpt a
 development, or comnercial information; or                                                     person who, having been served, fails without adequate excuse to obey the
                                                                                                subpoena or an order related to it,




                                                     For access to subpoena rnatcrials, sce Fed. R. civ. P. 45(a) committee Note (2013)
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                                                                                         Case16
                                                                                              or of 54


                                 UNtrrn       TATES           ANKRUPTCY COUNT
                                          SOUTHERN DISTRICT OF FLORIDA
                                                       Miami Division
 In re:
 JADE WrNDS ASSOCTATION, rNC.,                                             cAsE NO. 1s-17s70-RAM
        Dehtor.                                                            Chapter   11
 JADE WrNDS ASSOCTATION, rNC.,
        Plaintiff,                                                         ADV. NO. 17-01393-RAM

 FIRSTSERVICE RESIDENTIAL X'LORIDA, INC.' etc.
          Defendant-

        suBpoENA TO PRODUCE DOCUMENTS,INFORMATION, OR OBJECTS OR TO PERMIT
       INSPECTION OF'PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

 To:      JOSE SCARABELLO ("&I@!")
          1770 NE 191 Street, Unit 803
          North Miami Beach, FL33179

 X    Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
 the material: See attached SCFIEDULE A for instructions and requests for document production.

 PLACE: Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A.              DATE AND TIME
              c/o Kristopher E. Pearson, Esq
              Museum Tower, Suite 2200                                         December 2lo20l8 at 5:00 p.m.
               150 West Flagler Street
              Miami, FL 33130

 n    Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
 property possessed or controlled by you at the time, date, and location set forth below, so that the requesting parly may
 inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
 PLACE:                                                                        DATE AND TIME:


      The following provisions of Fed. R, Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P.9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date:    December       201 8


            CLERK OF COURT
                                                         OR

            Signature of Clerk or Deputy Clerk

The name, address, email address, and telephone number of the attorney representing FirstSerryice Residential
Floridar Inc., who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Millero et
al., 150 W. Flagler Street, Suite 22000 Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If this subpoena  commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served
on the person to whom it is directed. Fed. R. Civ. P. as(a)(a).
                                   Case 17-01393-RAM                       Doc 134           Filed 12/10/18              Page 17 of 54
                                                                                                                       (lase or Adversarv Proceeding)         ( I 2/l   5)
82570 (For.nr 2570 - Subpoena to produce Documents, lnfonnation, or Objects or'l'o Permit lnspection itl a tsankruptcv

                                    Federal Rule of                           (g) (EtTective l2llllS)
                                                                civil Procedure 45(c), (d), (e), and
                   (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                                       (ii) disclosing an unrctained expert's opinion or infbnnation that
(c) Place of compliance.                                                                     does not describe specific occuffences in dispute and results frorn the
                                                                                             expert's study that was rrot requested by a patty.
      (t) For a Trial, .Hearing, or      Deposition.   A.   subpoena may command a                 (C) SpeciJyin7 Conditions as an Alternative.In the circurnstances
.person to attend a lrictl, hearing, or deposition only as follows:                          described in Rule 45(dX3)(B), the court may, instead of quashing or
      (A) within 100 rniles of where the person resides, is employecl' or                    rnodifying a subpoena, orcler appearance or 1:roduction under specilied
 regularly tt'ansacts business in pcrson; or                                                 conditions   ifthe scrving partyl
  -   (tsi within the state where the person resides, is employed' or regularly                        (i) shows a substantial need for the testimony or matelial that
 hansacts business in person, ifthe persou                                                   cannot be otherwise met without undue hnrdship; and
             (i) is a party or a PartY's officer; or                                                  (ii) ensures that the subpoenaed person will be reasonably
             (ii) is cbmmanded to attend a trial and would not incur substantial             compensated.
expensc.
                                                                                             (c) Dutics in ILesponding to a Subpoena.
      (2)   ['or Other Discovery. A sttbpoena may contmand:
      (A) production of documents, or clectronically stored infbnnation, or                      (t) Proclucing Documents or Electronicall.v Stored Information. These
things at a place within 100 miles of where the person resides, is employed,                 procedures apply to producing tlocumenls or electronically stored
or regularly transacts business in person; and                                               inJbrmation:
      (B) inspection of premises, at thc premises to be inspected'                                 (A) Documenls. A person responding to a subpoena to produce
                                                                                             documents must prorluce them as they are kept in the ordinary course of
(d) Protecting a Person Subject to a Subpoenal Enforcement'                                  business or nrust organize ancl label them to correspond to the categories in
                                                                                             the demand.
       (1) Avctiding [Jndue Burden or Expense; Sanctions' A party or attorney                      (B) I'orm.for Producing Electronically Stored lnformation Not
responsible for issuing and serving a subpoena must take reasonable steps to                 Specified. Ifia subpoena <loes not specily a filrm for producing electronically
oriirt iotpoiirg undue burden or expense on a persotl subiect to the                         siored information, the person responding must produce it in a fonn or fonns
subpoena. L'he courtfor the districlwhere compliance is required ntust                       in which it is ordinarily rnaintained or in a reasonably usable form or fonns.
            this duty ani impose an appropriate sanction -*which may include                        (C) Electronicatly Stored In/ormation Produced in Only One Form.
"r,\ore
 lo-st earnings and reasonable attomey's fees     on a pdrty or attorney who                 The person responding need not produce the satne electronically stored
                                                        -                                    infilrmation in more than one fbrm.
.fails to conrply.
      (2) Command to Produce Materials or Permit Inspection.                                        (D) Inaccessible Electranically Stored Informatior. The person
        (A) Appearance Not Required' A person commanded to produce                           responding need not provide discovery of electronically stored information
 documenti,-electronically stored infonnation, or tangible things, or to permit              froin sources that the person identifies as not reasonably ar:cessible because
 the inspection ofpremises, need not appear in person at the place of                        ofundue burden or cost. On motion to compel discovery or for a protective
 procluciior, or inspection unless also conmanded to appear for a deposition,                order, the person responding nust show that the infomration is not
 hearing, or trial.                                                                          reasonably accessible because ofundue burden or cost. Ifthat showing is
        (81 Obiections.A person commanded to produce documents or tangible                   made, the court may nonetheless order discovery from such sources ifthe
 things ol to pemrit inspiction may serve on the party or attorney designated                requesting party shows good cause, considering the limitations ofl{u1e
 in the subpoeua a written objection to inspecting, copying, testing or                       26(bX2XC). The court rnay speci{y conditions for thc discovery.
 sampling any or all of the rnaterials or to inspecting the premises    or to
 producing eiectronically stored infomatiou in the fotrn or fonns requested'
                                                                            - .
                                                                                                  (2) Clahning Privilege or Protection.
 The objeJtion must be ierved befbrc the earlier ofthe tirne specified for                         (A) Information Withheld. A pcrson withholding subpoenaed
 co*rpliance or 14 days afterthe subpoena is served. Ifan obiection is made,                  information under a claim that it is privileged of subject to protection as trial-
 the folkrwing rules apply:                                                                   preparation material nrust:
            (i) At any time, on notice to the comlnanded person, the serving                           (i) expressly rnake the claim; and
 party may inove the court for the district where compliance is required for an                        (ii) describe the nature ofthe withheld docutnents,
 order r:ompelling productiou ol inspeotion.                                                  communications, or tangible things in a nrannel that, without revealing
            (ii) fnisi acts may be required only as directed in the order, and                information itselfprivileged or pfotected, will enable the parties to assess the
 the orcler must protect a person who is neithel a party nor a party's officer                c1aim.
 fiom significant expense resulting fiorn compliance.                                               (B) lnformation Produced'    If information ptoduced in rcsponse to a
                                                                                              subpoena is subiect to a claim of privilege or of protection as trial-
    (3) Quashing or Modifying a Subpoena.                                                     preparation nraterial, the person rnaking the olaim may notify any party that
      (rD Wl,rn Required. On timely motion, the coutt for the district where                  ieceived the information of the clairn and the basis fbr it. Aftcr being
 compliance is requiled must quash or modify a subpoena that:                                 notified, a party must promptly retun, sequester, or destroy the specified
           (i) fails to allow a reasonable time to cornply;                                   infotrnatioir ancl any copies it has; must not use or disclose the iDformation
           (ii) requires a person to comply beyond the geographical limits                    until the claim is resolved; tnust take reasonable steps to retrievc the
 specified in Rule 45(c)l                                                                     information if the party disclosed it before being notified; and may promptly
  '        (iii) requires disclosure ofprivileged or other protected matter, ifno             present the informati<ln uncler seal to the court for tlre district whele
 exception or waiver apPlies; or                                                              compliance is required for a determination of the clairn. The person who
              (iv) subiects   a person   to undue burden.                                     prorluced the information must preserve the inlbrmation until the claim is
       (B) When Permitted. To protect a person subjcct to or affected by a                    rcsolved.
 subpoena, the court for the district where compliance is required may, on
 rnotion, <luash or modify the subpoena ifit requires:                                        ig) Conte-pt. The court for the district where cornpliance is requirecl   - and
           ii) disclosing a trade secret or othcr confidcntial research,                      also, after a motion is transferted, tlre issuing court - may hold in contempt a
 development, or commercial information; or                                                   person who, having been served, fails without adequate excuse to obey the
                                                                                              subpoena or an order related to it.




                                                       For access to subpoena matcrials,   see Fed. R. Civ. P. 45(a) Committee Note (2013)
                        Case 17-01393-RAM           Doc 134      Filed 12/10/18
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                                                                                      Page  18 of 54              t2lr
 825',10     2s10   -    to Produce                or    or'l'o Permit                   Case or


                              Umrpn          TATES BANTNUPTCY                        Counr
                                          SOUTI{ERN DISTRICT OF FLORIDA
                                                  Miami Division
In re:
JADE WINDS ASSOCIATION, INC.,                                              cAsE NO. 15-17570-RAM
           Dehtor.                                                         Chapter   11
JADE WINDS ASSOCIATION, INC.,
     Plaintiff,                                                            ADV. NO. 17-01393-RAM

FIRSTSERVICE RESIDENTIAL FLORIDA, INC., etc.
           Defendant.

        suBpoENA TO PRODUCE DOCUMENTS,INFORMATION, OR OBJECTS OR TO PERMIT
       INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To:        LAURA LEVI ("Djlgg!")
           1770 NE 191 Street, Unit212
           North Miami Beach, FL33179

 X   Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
the material: See attached SCHEDULE A for instructions and requests for document production.

 PLACE: Stearns Weaver Miller Weissler Alhadeff & Sitterson' P.A.              DATE AND TIME:
               c/o Kristopher E. Pearson, Esq.
               Museum Tower, Suite 2200                                        December 21,2018 at 5:00 p.m.
               150 West Flagler Street
               Miami, FL 33130

 n    Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
 property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
 inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 PLACB:                                                                        DATE AND TIME:


      The following provisions of Fed. R. Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P.9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date:     December 6. 2018

             CLERK OF COURT
                                                         OR

             Signature of Clerk or Deputy Clerk

The name, address, email address, and telephone number of the attorney representing F irstService Residential
Floricla, Inc., who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Millero et
al., 150 W. Flagler Street, Suite 2200, Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If: this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, anotice and a copy of this subpoena must be seryed on each party before it is served
on the person to whom it is directed. Fed. R. Civ. P' as(a)(a).
                                  Case 17-01393-RAM Doc 134 Filed 12/10/18                                         Page  19 of 54
                                                                                                                      Case or Adversary Proceeding)
                                                                                                                                                        ,L2115\
82570     (F'oLm 2570   - Subpoena to Produce Documents, lnfonnation, or Objects or'Io Permit lnspection in a
                             Federal Rule of civil Procedure 45(c), (d), (e), and (g) (Effective l2ll/13)
                    (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                                 (ii) disclosing an unretained expert's opinion or infonnation that
(c) Placc of compliancc.                                                               does not describe specific occurrences in dispute and results frorn the
                                                                                       expert's study that was not requested by a patty.
     (t) For a Trial, Hearing, or Deposition. tl subpoena may command a                      (C) Speclyins Conditions as an Alternative. In thc circurnstances
person to attend tt trial, hearing, or deposition only as follows:                     described in Rule 45(d)(3XB), the court may, instead ofquashing or
       (A) within 100 miles of where the person resides, is employecl' or              modifying a subpoena, order appearance or lrroduction uncler specified
regularly transacts business in person; or                                             conditions   ifthe serving patty:
       (B) within the state where the person resides, is employed, or regularly                  (i) shows a substantial need for the testimony or material that
transactri business in person, ifthe persol                                            camrot be otherwise met without undue hardshipl and
           (i) is a party or a party's officer; or                                              (ii) ensures that the subpoenaed person will be reasonably
           (ii) is commanded to attend a trial and would not incur substantial         compensated.
expensc.
                                                                                       (c) Dutics in llesponding to a Subpoena.
    (2)   I'or Other Discovery. A subpoena may conrmand:
      (A) production ofdocuments, or electronically storcd infbnnation, or                 (l ) Producing Document,c or Electronicall.v Stored lnfurmatiott. These
things at a place within 100 rniles of where the person resides, is employed,          procedures apply to producing documenls or electronically stored
or regularly transacts business in person; and                                         information:
      (R) inspection of premiscs, at the premiscs to be inspected.                           (A) Documents. A person responding to a subpoena to produce
                                                                                       documents must produce them as they are kept in the ordinary course of
(d) Protecting a Person Subject to a Subpoena; [nforcement.                            brminess or must organize ancl label them to correspond to tlre categories in
                                                                                       the demand.
    (1) Avoiding Undue Burden or Expense; Sanctions. Apdrty ot attorney                       (B) f'orm.for Producing Electronically Stored htformation Not
respon,siblefor issuing and serving a subpoena must take reasonoble steps to           Specifed. Ifia subpoena cloes not specily a fbrm for producing electronically
avoid imposing tmdue burden or a(pense on a person subiect to the                      stored information, the person responding rnust produce it in a fonn or fonns
subpoena. T'he court for the district where compliance is required must                in which it is ordinarily maintained or in a reasonably usable form or fonns.
enftrc" this duty and impose an appropriate sanction ^* which may include                     (C) Electronically Stored In/brmation Produced in Only One Form.
 lost earnings and reasonable altorney's.fees         on a party or attornelt who      The person responding need not produce the sarne electronically stored
                                                  -
Jhils to conrply.                                                                      infirrmation in more than one form.
     (2) Command to Produce Materials or Permit.lnspection.                                   (D) Inaccessible Electronically Stored Information The person
      (A) Appearance Not Required. A person commanded to produce                       responding need not provide discovery ofelectronically storcd infomration
docurnenti" electronically stored infonnation, or tangible things, or to permit        from sources that the person identifies a^s not rea^sonably accessible because
the inspection ofpremises, need not appear in person at the place of                   of undue bwden or cost. On motion to compel discovery or for a protective
procluction or inspection unless also commanded to appear for a deposition,            order, the person responding must show that the information is not
hearing, or trial.                                                                     reasontrbly accessible because ofundue burden or cost. Ifthat showing is
       (I)) Objections. A person commanded to produce documents or tangible            made, the court may nonetheless order discovery from such sources ifthe
things or to permit inspection may serve on the party or attomey designated            requesting party shows good cause, considering the lirnitations ofllule
in the subpoena a written objection to inspecting, copying, testing or                 26(bX2XC). The court rnay specifu conditions for the discovery.
sampling any or all of the rnaterials or to inspecting the premises      or to
                                                                        -
proclucing electronically stored information in the fotm or fonns requested.                (2) Claiming Privilege or Protection.
The objcction must be served befbrc the earlier of the tirnc specified for                   (A) InJormation \fithlrcld. A pcrson withholding subpoerlaed
compliance or' 14 days after the subpoena is served' Ifan objection is made,           information under a claim that it is privileged or subject to protection as trial-
the folkrwing rules apply:                                                             preparation material must:
            (i) At any time, on notice to the comrnanded personn the serving                     (i) expressly make the claim; and
party may move the court for the district where compliance is required for an                    (ii) describe the nature of the withheld documents'
order compelling production or inspection.                                             oommrmications, or tangible things in a manner that, without revealing
            1ii; fnese acts may be required only as directed in the order, and         information itselfprivileged or protected, will enable the parties to assess the
the orcler must protect a person who is neither a party nor a party's officer          claim.
f'rorn significant expense resulting fiorn compliance.                                       (B) lnformation Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim ofprivilege or ofproteotion as trial'
   (3) Quashing or Modifuing a Subpoetta.                                              preparation material, the person making the clain may notify tury party that
     (A) When Required. On timely motion, the coutt fbr the district where             received the information of the clairn and the basis fbr it. After being
compliance is requiled must quash or modify a subpoena that:                           notified, a party must promptly retum, sequester, or destroy the specified
          (i) t'ails to allow a reasonable time to cornply;                            infonnation and any copies it has; murit not ttse or disclose the information
          (ii) requires a person to cornply beyond the geographical limits             until the claim is resolved; must take reasonable steps to retrievc tlte
specified in Rule 45(c);                                                               information if the paay disclosed it before being notified; and may promptly
          (iii) requires disckrsure ofprivileged or other protected matter' ifno       present the infilrmation trnder seal to the court filr the district where
exception or waiver applies; or                                                        compliance is required for a determination of the claim' The person who
         (iv) subjects a person to undue burden.                                       produced the information must preserve the information until the claim is
     (B) llrhen Permitted. To protect a person subject to or affectcd by a              rcsolved.
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena ifiit requires:                                    (g) Conternpt. The court for the district where compliance is requilecl - and
         (i) disclosing a trade secret or othcr confidential research,                  also, after a motion is transfetred, tlrc issuing coult - may hold in conternpt a
development, or commercial information; or                                              person who, having been served, fails without adequate excuse to obey the
                                                                                        subpoena or an order related to it.




                                                For acccss to subpoena Inaterials, sce Fed.   R. Civ. P. 45(a) Comntittee Note (2013)
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                               NITED       Srarps BaNrnuprcY                              OURT
                                          SOUTIIERN DISTRICT OF FLORIDA
                                                   Miami Division
 In re:
 JADE WIIIDS ASSOCIATION, INC.,                                            cAsE NO. 15-17570-RAM
                                                                           Chapter   11
 JADE Wr1\DS ASSOCTATTON, rNC.,
      Plaintiff,                                                           ADV. NO. 17-01393-RAM

 FIRSTSERVICE RESIDENTIAL FLORIDA, INC., etc.


        suBpoENA TO PRODUCE DOCUMENTS,INFORMATION, OR OBJECTS OR TO PERMIT
       INSPECTION OF'PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

 To:       MAGDYAYAD       ("&!@!")
           1660NE 191 Street, Unit207-I
           North Miami Beach, FL33179

 X    Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
 the material: See attached SCTIEDULE A for instructions and requests for document production.

 PLACE: Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A.              DATE AND TIME:
              c/o Kristopher E. Pearson, Esq.
              Museum Tower, Suite 2200                                         December 21,2018 at 5:00 p.m.
               150 West Flagler Street
              Miami, FL 33130

 I    Inspection of Premises: YOU ARE COMMAI\DED to permit entry onto the designated premises, land, or other
 property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
 inspect, measure, survey, photograph, test, or sample the properly or any designated object or operation on it.
 PLACE                                                                         DATE AND TIME:


      The following provisions of Fed. R. Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P.9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequenoes of
 not doing so.
 Date:     December 6.2018

             CLERK OF COURT
                                                         OR

                                                                                ts
            Signature of Clerk or Deputy Clerk                         A

The name, address, email address, and telephone number of the attorney representing FirstService Residential
Floridar Inc., who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Miller, et
al., 150 W. Flagter Street, Suite 2200, Miamio FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If this subpoena  commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial,anotice and a copy of this subpoenamust be serued on each party before it is served
on the person to whom it is directed. Fed. R. Civ. P, as(a)(a).
                              Case 17-01393-RAM Doc 134 Filed 12/10/18 Page 21 of 54                                                               (
          (Fom 2570 - Subpoena to Produce Documents, lnfonnation, or Obiects or To Permit Inspection in a tsankruptcy Case or Adversarv Proceeding) 12115\
112570


                                  Federal Rule of         civil Procedure 45(c)o (d), (e), and (g) (Et'f'ective 12/1113)
                  (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                               (ii) disclosing an unretained expert's opinion or infonnation that
(c) Place of compliance.                                                             does not describe speoific occurrences in dispute and results froln the
                                                                                     expert's study that was not requested by a party'
    (t) For a Trial, Hearing, or Deposition. A subpoena may command a                      (C) Specfuing Conditions as an Alternative.In the circurnstances
pe$on to altend (1 tfial, hearing, or deposition only as follows:                    described in Rule 45(d)(3XB), the court may, instead of quashing or
      (A) within 100 rniles of where the person resides, is employecl, or            modifying a subpoena, order appearance or production under specified
regularly transacts business in pcrson; or                                           conditions   ifthe scrving party:
  - (ts) within the state where the person resides, is employed, or regularly                 (i) shows a substantial need for the testimony or material that
tral'lsacts business in person,   ifthe person                                       cannot be otherwise met without undue hardship; ancl
            (i) is a party or a PartY's officer; or                                            (ii) ensures that the subpoenaed person rvill   be reasonably
            (ii) is commanded to attend a trial and would not incur substantial      compensated.
expense,
                                                                                      (c) Dutics in llesponding to a Subpocna.
     (2) For Other Discovery. A subpoena may command:
      (A) production ofdocuments, or clectronically stored infbnnation, or               (t) Producing Doatments or Electronically Stored lnformation. These
things at a place within 100 rniles of rvhere the person resides, is employed,       procedures apply to producing documenls or eleclronically stored
or regularly transacts business in person; and                                       inJbrmation:
      (B) inspection of prcmises, at the premises to be inspected'                         (A) Documents. A person responding to a subpocna to produce
                                                                                     documents must produce them as they are kept in the ordinary course of
(d) Protecting a Person Subject to a Subpoena; Enforcement.                          bnsiness or ntust organize and label them to correspond to the categories in
                                                                                      the demand.
    (t ) Avoiding Undue Burden or Expense; Sanctions. A party or attorney                   (B) F'orm.for Producing Electronically Stored lnformation Not
responsible for issuing and serving a subpoena must take reasonable steps to          Specified. Ifi a subpoena cloes not specify a firrm for producing electrouically
avoitl imposing undue burden or expense on a persort subiect to the                   siored information, the person responding must produce it in a fom or fonns
subpoena. the court for the district where compliance is required must                in which it is ordinarily maintained or in a reasonably usable form or fonns.
enforce this cluty and impose an appropriate sanction -- which tnay include                 (C) Electronically Stored In/brmation Produced in Only One Form.
        earnings and reasonttble altorney's.fees       on a party or attorney who     The person responding need not produce the sarne electronically stored
lo-st
                                                   -
fails to contply.                                                                     infirrmation in more than one filrm.
     (2) Command to Produce Materials or Permit lnspection.                                 (D) Inaccessible Electronically Stored Information The person
      (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored infonnation, or tangible things, or to permit        froin sources that the person identifies as not rea^sonably accessible because
the inspection ofpremises, need not appear in person at the place of                  ofundue burden or cost. On motion to compel discovery or for a protective
procluition or inspection unless also coinmanded to appear for a deposition,          order, the person responding must show that the inlomration is not
hearing, or trial.                                                                    reasonably accessible because ofundue burden or cost. lfthat showing is
      (E) Obiections.A person commanded to produce documents or tangible              made, the court may nonetheless order discovery from such sources ifthe
tJringi or to permit inspiction may serve on the party or attomey designated          requesting party shows good cause, considering the limitations ofltule
in thc subpoena a writtcn objection to inspecting, copying, testing or                26(bX2XC). The court rnay speci{y conditions for the discovery.
sampling any or all of the rnaterials or to inspecting the premises    or to
                                                                        -
prociucing eiectrrnically storecl infoimation in the fonn or forms requested'              (2) Claiming Privilege or Protection.
The objeition must be served befbre the carlier ofthe tirnc specified for                   (A) In/brnation llithheld. A person withholding subpoenaed
compliance or 14 days after the subpoena is served' If an obiection is made,          information under a claim that it is privileged or subject to protection as trial-
the folkrwing rules apply:                                                            preparation material must:
           (i) At any time, on notice to the comrnanded person, the serving                      (i) expressly rnake the claim; and
pa(y may move the court for the district where compliance is required for an                     (ii) describe the nature of the withheld documents,
order compelliug production ot inspection'                                            communicatiotts, or tangible things in a nrtumer that, without revealing
           (ii) mise acts may be required only as directed in the order, and          information itselfprivileged or protected, will enable the parties to assess the
the orcler must protect a person who is neither a party nor a party's officer         claim.
liorn significant expense rcsulting llorn compliance,                                       (B) lnformation Produced.If information produced in responsc to a
                                                                                      subpoena is subiect to a claim ofprivilege or ofprotection as trial-
     (3) Quashing or Modifling a Suhpoena,                                            preparation material, the person rnaking the clainr nlay notify ury pafiy that
      (rtl Wnm Reqttired, On tirncly motion, the court for the dishict wherc          ieceived the information of the claim and the basis fbr it. After being
 cornpliance is required must quash or modify a subpoena that:                        notified, a party must promptly retum, sequester, or destloy the specilied
           (i) thils to allow a reasonable time to comply;                            infomation and any copies it has; must not ttse or disclose the information
           (ii) requires a person to comply beyond the geographical limits            until the claim is resolved; tnust take reasonable steps to rctrieve the
 specified in Rule 45(c);
  '                                                                                   information if the party disclosed it before being notified; and may promptly
           (iii) requires rJisckrsure ofprivileged or other protected matter, ifno    present the infirrmation tnder seal to the court firr the district where
 exception or waiver applies; or                                                      compliance is required for a determination of the clairn. The person who
           (iv) subiects a person to undue burden.                                    produced the information must preserve the inlbrmation until the claim is
       (B) Ilhen Permitted. To protect a person subject to or affectcd by a           resolved.
 subpoena, the court for the district where compliance is required may, on
 rnotion, quash or modify the subpoeua iliit requires:                                 (g) Contempt. The court for the distriot where cornpliance is required - and
           (i) disclosing a tradc secret or other confidential rescarcho               aiso, aller a motion is transferred, the issuing court - may hold in conternpt a
 development, or commercial infornation; or                                            pelson who, having been served, fails without adequate excuse to obey the
                                                                                       subpoena or an order related to it.




                                               For access to subpoena rnaterials, soe Fed. R. civ. P. 45(a) committee Note (2013)
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                          to Produce                Doc 134
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                                                                                              or of 54            l2tr

                                 UmTgD STATES                 ANKRUPTCY COUNT
                                           SOUTMRN DISTRICT OF FLORIDA
                                                  Miami Division
 In re:
 JADE WrNDS ASSOCTATTON, rNC.,                                             cAsE NO. rS-r2570-RAM
            T)ehfor-                                                       Chapter   11
 JADE WINDS ASSOCIATION, INC.,
      Plaintiff,                                                           ADV. NO. 17-01393-RAM

 F   IRSTSERVICE RESIDENTIAL FLORIDA, INC., etc.
            Defendant.

         suBpoENA TO PRODUCE DOCUMENTS,INFORMATION' OR OBJECTS OR TO PERMIT
        INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

 To:        MERCEDES CARRASSES ("Denonent")
            1700 NE 191 Street
            North Miami Beach, FL33179

 X    Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
 the material: See attached SCFIEDULE A for instructions and requests for document production.

 PLACE: Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A.              DATE AND TIME:
              c/o Kristopher E. Pearson, Esq.
              Museum Tower, Suite 2200                                         December 21,2018 at 5:00 p.m.
               150 West Flagler Street
              Miami, FL 33130

 n    Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
 property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
 inspect, measure, survey, photograph, testo or sample the properly or any designated object or operation on it.
 PLACE:                                                                        DATE AND TIME


      The following provisions of Fed. R. Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P.9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date:      December     201 8


              CLERK OF COURT
                                                         OR

              Signature of Clerk or Deputy Clerk

The name, address, email addresso and telephone number of the attorney representing FirstService Residential
Floridar Inc., who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Miller, et
al.o 150 W. Flagler Street, Suite 22000 Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.

                               Notice to the person who issues or requests this subpoena
If this subpoena  commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be seryed on each party before it is served
on the person to whom it is directed. Fed. R. Civ. P. as(aXa).
                                 Case 17-01393-RAM Doc 134 Filed 12/10/18 Page 23 of 54
112570    (F'om 2570   - Subrroena to Produce Documents, lnformation, or Obiects or To Permit Inspeotion iu a Banknrntcv Case or Adversarv Proceedins)
                                               Procedure 45(c), (d), (e), and (g) (Effective l2llll3)
                                  Federal Rule of        civil
                 (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                                  (ii) disclosing an unretained expefi's opinion or infbnnation that
(c) Place of compliancc.                                                                does not describe specific occturences in dispute and results frorn the
                                                                                        expert's study that was not requested by a patty.
    (t) For a Trial, Hearing, or Deposition' A subpoena may command a                         (C) Speci/ying Conditions as an Alternative.In the circurnstances
person to attend a trial, hearing,, or deposition only as follows:                      described in Rule 45(d)(3)(B), the court may, instead ofquashing or
      (A) within 100 miles of where the pel'son resides, is employed, or                rnodifying a subpoena, order appearance or production under specified
regularly transacts business in person; or                                              conditions   ifthe scrving patty:
      (ts) within the state where the person resides, is employed' or regularly                   (i) shows a substantial need for the testimony or matet'ial that
hansacts business in person, ifthe persolt                                              camrot be otherwise met without undue hardship; and
           (i) is a party or a partY's officer; or                                               (ii) ensures that the subpoenaed person will be reasonably
           (ii) is commanded to attend a trial and would not incur substantial          compensated.
expensc.
                                                                                        (c) Dutics in lLcsponding to a Subpocna.
     (2)   I'or Other Discovery. A subpoena may command:
      (A) production ofdocuments, or electronically stored infonnation, or                  ( I ) P rottucing Documents or Electronicall.y Stored.lnformatiort. These
things at i place within 100 miles of where the person resides, is employed,            procedures apply to producing docuntenls or eleclronicalllt stored
or regularly transacts business in person; and                                          inJbrmation:
      (B) inspection of premises, at the premises to be inspectcd.                             (A) Documents. A person responding to a subpoena to produce
                                                                                        documents must produce them as they are kept in the ordinary course of
(d) Protecting a Person Subject to a Subpoenal Enforcement.                             business or must organize and label them to corresponcl to the categories in
                                                                                        the demand.
     (1   ) Avoiding [Jndue Burden or Expense; Sanctions. A party or attorney                  (B) f'orm.for Producing Electronically Stored lnformation Not
responsible for issuing and serving a subpoena must take reasonable steps to            Spect/ied. Ifl a subpoena does not specify a finm for producing electronically
avoicl imposing undue burden or expense on a person subiect to the                      stored information, the person responding must produce it in a fonn or fonns
subpoena. l'he court for the dislrict where compliance is required must                 in which it is ordinarily maintained or in a reasonably usable form or fonns.
en|orce this duty and impose an appropriate sanction -- which may include                      (C) Etectronically Stored InJbrmation Produced in Only One Form.
 lo-st earnings and reasonable attorney's fees   on a party or attorney who             The person responding need not produce the sarne electronically stored
                                                 -
J'ails  to  comply.                                                                     infilrmation in more than one fornr.
       (2) Command to Produce Materials or Permit lnspection'                                  (D) Inaccessible Electronically Stored Information The person
         (A) Appearance Not Required. A person commanded to produce                     responding need not provide discovery of electronically stored information
documents,-electronically stored information, or tangible things, or to permit          froin sources that the person identifies a^s not reasonably accessible because
the inspection ofpremises, need not appear in person at the place of                    ofundue burden or cost. On motion to compel discovery or for a protective
procluclion or inspection unless also commanded to appear for a deposition,             order, the person responding must show that the inlomlation is not
hearing, or trial.                                                                      reasonably accessible beoattse ofundue burden or cost. Ifthat showing is
       (-Q Obiections, A person commanded to ploduce documents or tangible              made, the court may nonetheless order discovery from such sources ifthe
things or to permit inspection rnay serve on the party or attomey designated            requesting parly shows good cause. considering the limitations ofllule
in the subpoena a written objection to inspccting, copying, testing or                  26(bX2XC). The court rnay specifr conditions for the discovery.
sampling any or all of the rnaterials or to inspecting the premises     or to
                                                                       -
prociuoing electronically stot'ed infornation in the fotrn or fonns requestecl.              (2) Claiming Privilege or Protection.
the oblection must bc served befbre the carlier ofthe tirne specificd for                     (A) Information    llithheld. A person withholding subpoenaed
compliance or I 4 days alter the subpoena is served. If an objection is made,            infomration under a claim that it is privileged or subject to protection as trial'
the folkrwing rules apply:                                                               preparation material must:
           (i) At any time, on notice to the comrnanded person, the serving                        (i) expressly make the claim; and
party may move the court for the district where compliance is required for an                      (ii) describe the nature of the withheld documents,
order compelling production or inspeotion.                                               communications, or tangible things in a nrannel that, withont revealing
           1ii; fnese acts may be required only as directed in the order, and            information itselfprivileged or protected, will enable the parties to assess the
the orcler must protect a person who is neither a party nor a party's officer            claim.
 fiorn significant expense resulting fiorn compliance.                                         (B) Information Produced. If information produced in rcsponse to a
                                                                                         subpoena is subiect to a claim ofprivilege or ofprotection as trial-
    (3) Quashing or Modifying a Suhpoena.                                                preparation material, the person rnaking the claim nray notify ury party that
     Ql lfhen Required. On tirnely motion, the coutt fbr the dishict where               received the information of the claim and thc basis fbr it. After being
cornpliance is required must quash or modify a subpoena that:                            notilied, a party must promptly return, sequester, or destroy the specihed
          (i) 1'ails to allow a reasonable time to cornply;                              infonnation and any copies it has; must not use or disclose the information
          (ii) requires a person to comply beyond the geographical limits                until the claim is resolved; rnust take reasonable steps to retrieve the
specihed in Rule 45(c);
 ^                                                                                       information if the party disclosed it before being notified; and may promptly
          (iii) requires discklsure oflprivileged or other protected matter, ifno        present the infirrmation rurder seal to the coud f'or the district where
exception or waiver applies; or                                                          compliance is required for a determination of the claim' The person who
          (iv) subjects a person to undue burden.                                        produced the information nust preserve the infornation until the claim is
      (B) When Permitted. To protect a person subject to or affectcd by a                resolved.
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:                                     (g) Contempt. The court for the district where cornpliance is requirecl - and
          (i) disclosing a tradc secret or othcr confidential research,                  also, after a motion is transfcrred, the issuing court - may hold in contetnpt a
development, or commercial information; or                                               person who, having been served, fails without adequate excuse to obey the
                                                                                         subpoena or an order related to it.




                                                For acccss to subpoena materials, see Fed, R. Civ, P. 45(a) Committee Note (2013)
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                        to Produce                  Doc 134
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                                                         or To Permit     lna         Page
                                                                                        Case24
                                                                                             or of 54

                               NITED STATBS BANKRUPTCY                               Counr
                                          SOUTHERN DISTRICT OF FLORIDA
                                                        Miami Division
In re:
JADE WINDS ASSOCIATION, INC.,                                              cAsE NO. 15-17570-RAM
                                                                           Chapter   11
JADE WINDS ASSOCTATTON, rNC.,
     Plaintiff,                                                            ADV. NO. 17-01393-RAM

FIRSTSERVICE RESIDENTIAL FLORIDA, INC., etc.
          Defendant.

       suBpoENA TO PRODUCE DOCUMENTS,INF'ORMATION' OR OBJECTS OR TO PERMIT
      INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To:       REVILLA TULLIO ("Ds!onen!')
          1690 NE 191 Street, Unit 300
          North Miami Beach, FL33I79

 X   Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
the material: See attached SCFIEDULE A for instructions and requests for document production.

PLACE: Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A.               DATE AND TIME:
              c/o Kristopher E. Pearson, Esq.
              Museum Tower, Suite 2200                                         December 21,2018 at 5:00 p.m.
              150 West Flagler Street
              Miami, FL 33130

 n    Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
 property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
 inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
 PLACE:                                                                        DATE AND TIME:


      The following provisions of Fed. R. Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P.9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date:    December 6.2018

            CLERK OF COURT
                                                          OR

            Signature of Clerk or Deputy Clerk

The name, address, email address, and telephone number of the attorney representing FirstService Residential
Floridar Inc., who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Miller, et
al., 150 W. Flagler Street, Suite 2200, Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If this subpoena  commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, anotice and a copy of this subpoena must be seryed on each party before it is served
on the person to whom it is directed. Fed. R. Civ. P. as(a)(a).
                               Case 17-01393-RAM                      Doc 134       Filed 12/10/18              Page 25 of 54
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                               F.ederat Rule of Procedure 45(c), (d), (e), and (g) (Eft'ective l2llll3)
                                                       civil
                  (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                              (ii) disclosing an unrctained expefi's opinion or infonnation that
(c) Place of compliancc.                                                            does not describe specific occurrences in dispute and results frorn the
                                                                                    expert's study that was not requested by a party'
     (t) For a Trial, Hearing, or De;tosition. A subpoena rnay cotnmand a                (C) Specdying Conditions as an Alternative. In the circumstances
person to attend d tricl, hearing,, or deposition only as follows:                  described in Rule 45(d)(3XB), the court may, instead ofquashing or
       (A) within 100 rniles of where the person resideso is employed, or           modifying a subpoena, order appealance or production under specified
regularly transacts business in person; or                                          conditions   ifthe serving party:
       (ts) within the state where the pet'son resides, is employed, or regularly             (i) shows a substantial need for the testirnony or material that
transaots business in person, ifthe person                                          camrot be otherwise met without undue hardship; ancl
            (i) is a party or a PartY's officer; or                                          (ii) ensures that the subpoenaed person will be reasonably
            (ii) is commancled to attend a trial and would not incur substantial    compensated.
expense.
                                                                                    (e) Dutics in llcsponding to a Subpocna.
     (2)   t'or Other Discovery. A subpoena may command:
      (A) production ofldocuments, or electronically stored infbnnation, or             (l) Producing Documents or Electrcnically Stored lnformation. These
things at i place within 100 miles of rvhere the person resides, is employed,       procedures apply to producing documenls or electronically stored
or regulally transacts business in person; and                                      inJbrmation:
      (B) inspection of premises, at the premises to be inspected.                        (A) Documents. A personresponding to a subpoenato produce
                                                                                    documents must produce them as they are kept in the ordinary course of
(d) Protecting a Person Subject to a Subpoenal Enforcement.                         business or must organize and label them to correspond to the categories in
                                                                                    the demand.
      (1) Avoiding Undue Burden or Expense; Sanctions' Apctrty or attorney                (B) l'orm.for Producing Electronically Stored lnformation Not
responsible for issuing and serving a subpoena must take reasonable steps to        Speci/ied. [f) a subpoena cloes not specily a finm for producing electronically
avoid imposing unclue burden or expense on a person subiect to the                  siored information, the person responding must produce it in a fonn or fonns
subpoena.The courtfor the disffictwhere compliance is required must                 in which it is ordinarily maintained or in a reasonably usable form or fotms.
un\orrc this cluly and impose an appropriate sanction -- which may include                (C) Electronically Stored Information Produced in Only One Form,
 lo-st earnings and reasonable altorney's fees on a party or attorney who           The person responding need not produce the same electronically stored
                                                -
.f'ails to conrply.                                                                 infirrmation in more than one tbrm.
     (2) Command to Produce Materials or Permit [nspection.                               (D) Inaccessible Electronically Stored Information The person
      (A) Appearance Not Required. A person commanded to produce                    responding need not provide discovery ofelectronically stored information
documents, eleotronically stored information, or tangible things, or to permit      froin sources that the person identifies as uot rea^sonably accessible because
the inspection ofpremises, need not appear in person at the place of                ofundue burden or cost. On motion to compel discovery or for a protective
procluction or inspection unless also commanded to appeal for a deposition,         onler, the person responding must show that the infomration is not
hearing, or trial.                                                                  reasonably accessible because ofundue burden or cost. lfthat showing is
        (B) Obiections.A person commanded to produce documents or tangible          made, the court may nonetheless order discovery from such sources ifthe
things or to pernrit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of l{ule
in the subpoena a written objection to inspecting, copying, testing or              26(b)(2XC). The court tnay speciff conditions for the discovery.
sampling any ol all of the rnaterials or to inspecting the premises       or to
prociucing
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                             storetl iuformation in the fonn or fonns requestecl'       (2) Claiming Privilege or Protection.
The objection "iectronioally
                  must be seled before the earlier of the tirne specified for            (A) InJbrmation I'yithheld. A person withholding subpoenaed
cornpliance or 14 days after the subpoena is served' If an obiection is nade,       information under a claim that it is privileged or subject to protection as trial-
the folkrwing rules apply:                                                          preparation material must:
            (i) At any time, on notice to the commanded person, the serving                   (i) expressly make the claim; and
party may move the court for the district where compliance is required lor an                 (ii) <lescribe the nature of the withheld documents,
order compelling procluction or inspection.                                         communications, or tangible things in a ntanner that, without revealing
            1ii; fnese acts may be required only as direoted in the order' and      information itselfprivileged or protected, rvill enable the parties to assess the
the olcler must protect a person who is neither a party nor a party's officer        claim.
 f'rorn significant expense resulting liorn compliance.                                    (B) .lnformation Produced.If infcrrmation produced in rcsponse to a
                                                                                     subpoena is subiect to a claim ofprivilege or ofprotection as trial-
    (3) Quashing or Modifying a Subpoena.                                            preparation material, the person rnaking the claim nray notify tury party that
      Qlj When Required. On tirncly motion, the coutt fbr the dishict wherc          receivcd the information of the clairn and thc basis fbr it. Aftcr being
 compliance is required must quash or modify a subpoena that:                        notified. a party must promptly return, sequester, or destroy the specified
           (i) l'ails to allow a reasonable time to comply;                          information ancl any copies it has; must not use or disclose the information
           (ii) requires a person to comply beyond the geographical limits           until the claim is resolved; tnust take reasonable steps to retrieve the
 specified in Rule 45(c)l                                                            information if the party disclosed it before being notified; and may pronptly
           (iii) requires disckrsure ofprivileged or other protected matter, ifno    present the infilrmation rurder seal to the cout firr the district where
 exception or waiver applies; or                                                     compliance is required for a determination of the clairn' The person who
            (iv) subiects a person to undue burden.                                  produced the information must preserve the information until the claim is
        (B) llthen Permitted. To protect a person subject to or affected by a        resolved,
 subpoena, the court for the district where compliance is required may, on
 motion, quash or modify the subpoena ifiit requires:                                (g) Contempt. The court for the clistrict where cornpliance is requilecl - and
          (i) disclosing a trade sccret or othcr confidential research,              also, after a motion is transfelred, the issuing court - may hold in conternpt a
 development, or commercial infomration; or                                          person who, having been served, fails without adequate excuse to obey the
                                                                                     subpoena or an older related to it.




                                              For access to subpoena matcrials, sce Fed R. Civ. P. 45(a) Comnittee Note (2013)
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                                NITED      S rarps BaNrnuprcY Counr
                                          SOUTHERN DISTRICT OF FLORIDA
                                                  Miami Division
In re:
JADE WrNDS ASSOCTATTON, rNC.,                                              CASD NO. 15-17570-RAM
         Debtor.                                                           Chapter 11
JADE WINDS ASSOCIATION, INC.,
     Plaintiff,                                                            ADV. NO. 17-01393-RAM
V.
FIRSTSERVICE RESIDENTIAL FLORIDA, INC., etc.
         Defendant.

      suBpoENA TO PRODUCE DOCUMENTS,INFORMATION, OR OBJECTS OR TO PERMIT
     INSPECTION OF'PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To:      ROBERT GRAVER ("Di!@!")
         1750 NE 191 Street, Unit 125-4
         North Miami Beach, FL33I79

 X   Production: YOU ARE COMMAI\DED to produce at the time, date, and place set forth below the following
documents, elechonically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
the material: See attached SCFIEDULB A for instructions and requests for document production.

PLACE: Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A.               DATE AND TIME:
             c/o Kristopher E. Pearson, Esq
             Museum Tower, Suite 2200                                          December 21,2018 at 5:00 p.m.
              150 West Flagler Street
             Miami, FL 33130

 n    Inspection of Premises: YOU ARE COMMAI\DED to permit entry onto the designated premises, land, or other
 property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
 inspect, measure, survey, photograph, testo or sample the properly or any designated object or operation on it'
 PLACE                                                                         DATE AND TIME:


      The following provisions of Fed. R. Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P.9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date:   December     201   I
           CLERK OF COURT
                                                         OR

                                                                                ,s
           Signature of Clerk or Deputy Clerk


The name, address, email addresso and telephone number of the attorney representing FirstService Residential
Flori{ar Inc., who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Millero et
al., 150 W. Flagler Street, Suite 22000 Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If this subpoena  commands the production of documents, electronically stored information, or tangible things, or the
inspection bf premises before trial, a notice and a copy of this subpoena must be seled on each party before it is served
on the person to whom it is directed. Fed. R. Civ. P. as(a)(a).
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                        Federal Rule of civil Procedure 45(c), (d), (e), and (g) (Effective l2ll./13)
               (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                             (ii) disclosing an unretained expert's opinion or infonnation that
(c) Placc of compliancc.                                                           does not describe specific occuffences in dispute and results frorn the
                                                                                   expert's study that was not requested by a patty'
    (l ) For a Trial, Hearing, or Deposition. A subpoena may command a                   (C) Specr/ying Conditions as an Alternative. In the circutnstances
percon to attend a trial, hearing, or deposition only as follows:                  described in Rule 45(dX3XB), the court may, instead ofquashing or
      (A) within 100 miles of where the person resides' is employed, or            modifying a subpoena, order appearance or production under specified
regularly transacts business in person; or                                         conditions   ifthe serving party:
      (B) within the state where the person resides, is employed, or regularly              (i) shows a substantial need for the testimorry or material that
hansaots business in person, ifthe person                                          cannot be otherwise met without undue hardship; and
          (i) is a party or a party's officer; or                                          (ii) ensures that the subpoenaed person     will   be reasonably
          (ii) is commanded to attend a trial and would not incur substantial      compensated.
expense.
                                                                                   (c) Duties in llesponding to a Subpocna.
     (2) lt'or Other Discovery. A subpoena may command:
      (A) production ofidocuments, or electronically stored infonnation, or            (t ) Producing Documents or Electronically Stored lnformation. These
things at a place within 100 rniles of where the person resides, is employed,      procedures apply to producing tlocuments or eleclronically stored
or regularly transacts business in person; and                                     inJbrmation:
      (B) inspection ofpremises, at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce
                                                                                   documents must produce them as they are kept in the ordinary course of
(d) Protecting a Person Subject to a Subpoena; Dnforcement.                        business or must organize and label them to correspond to the categories in
                                                                                   the demand.
    (t) Avoiditrg undue Burden or Expense; Sanctions. A party or attorney                (B) I'orm.for Producing Electronically Stored Informatiott Not
respon,sible for issuing and serving a subpoena must take reasonable steps to      Speci/ied. Ifi a subpoena does not specify a firrm for producing electronically
avoitl inposing undue burden or expense on a person subiect to the                 stored information, the person responding must produce it in a fonn or fonns
subpoena, lhe court for the district where compliance is required must             in which it is ordinarily maintained or in a reasonably usable form or fonns.
enforce this duty and impose an appropriate sanction ---which tnay include               (C) Electronically Stored Information Produced in Only One Form.
 lo-st earnings and reasonttble attorney's fees on a party or attorney who         The person responding need not produce tlte sarne electronically stored
                                              -
Jhils to comply.                                                                    infilrmation in more than one firrm.
     (2) Command to Produce Materials or Permit Inspection'                                (D) Inaccessible Electronically Stored Information The person
      (A) Appearance Not Required' A person commanded to produce                    responding need not provide discovery ofelectronically stored information
docurnents,-electronically stored information, or tangible things, or to permit     from sources that the person identifies as uot retr'sonably acoessible because
the inspection ofpremises, need not appear in person at the place of                ofundue burden or cost. On motion to compel discovery or for a protective
procluition or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                  reasonably accessible beoause ofundue burden or cost. Ifthat showing is
      (B) Objections.A person commanded to produce documents or tangible            made, the court may nonetheless order discovery from such sources ifthe
things or to permit inspection may serve on the party or attorney designated        requesting party shows good cause, considering the lirnitations ofltule
in the subpoena a written objection to inspecting, copying, testing or              26(bX2XC). The court rnay speciff conditions for the discovcry.
sampling any or all of the rnaterials or to inspecting the premises     or to
                                                                   -
prociucing eiechonically stored information in the fonn or founs requested.              (2) Clairning Privilege or Protection.
ihe objcction must be served befbre the carlier ofthe thne specified for                  (A) InJbrmation Withheld. A pcrson withholding subpoenaed
cornplilnce or I 4 days after the subpoena is served. If an obiection is made,      information under a clain that it is privileged or subject to protection as trial-
the folklwing rules apply:                                                          preparation material must:
           (i) At any time, on notice to the comlnanded person, the serving                    (i) expressly rnake the claim; and
party may move the court for the district where compliance is required for an                  (ii) describe the nature of the witlrheld documents,
order compelling production or inspection.                                          corumunications, or tangible things in a nannet that, rvithout revealing
           1ii; fnese Bcts may be required only as directed in the order, and       information itselfprivileged or protected, will enable the parties to assess the
the orcler must protect a person who is neither a party nor a party's officer       claim.
liom significant expenso resulting liorn compliance'                                      (B) lnformation Produced, If information produccd in rcsponse to a
                                                                                    subpoena is subject to a claim ofprivilege or ofprotection as trial'
    (3) Qua.rhing or Modifying a Suhpoena.                                          preparation material, the person making the clain may notify any party that
      Qtl Wthen Required. On tirncly motion, the coutt for the district where       received the information of the claim and the basis fbr it. After being
compliance is requiled must quash or modify a subpoena that:                        notified, a party must promptly retum, sequester, or destroy the specified
          (i) fails to allow a reasonable time to cornply;                          infonnation and any copies it has; mttst not use or disclose the infoinration
          (ii) requires a person to comply beyond the geographical limits           until the clairn is resolvcd; must take reasonable steps to retrieve the
specified in Rule 45(c)l                                                            information if the party disclosed it before being notified; and may promptly
          (iii) requires disckrsure ofprivileged or other protected matter, ifuo    present the information under seal to the court fin the district where
exception or waiver applies; or                                                     compliance is required for a determination ofthe clairn, The person rvho
          (iv) subiects a person to undue burden'                                   produced the information must preserve the information until the claim is
      (B) Ilthen Permitted. To protect a person subject to or affected by a         resolvcd.
subpoena, the court for the district where compliance is required may, on
rnotion, quash or modify the subpoena ili it requires:                              (g) Contempt. The court for the district where cornpliance is requiled - and
          (i) disclosing a trade sccret or other confidential research,             also, after a motion is transfened, the issuilg court - rnay hold itl contempt a
development, or conrmercial information; or                                         person who, having been served, fails without adequate excuse to obey the
                                                                                    subpoena or an order related to it.




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                             UNrrsp          TATES BANTNUPTCY                             OURT
                                          SOUTIIERN DISTRICT OF FLORIDA
                                                   Miami Division
In re:
JADE Wrr\DS ASSOCTATTON, INC.'                                             cAsE NO. 15-17570-RAM
           Debtor.                                                         Chapter   11
JADE WINDS ASSOCTATTON, rNC.,
     Plaintiff,                                                            ADV. NO. 17-01393-RAM
v.
FIRSTSERVICE RESIDENTIAL FLORIDA' INC.' etc.
           Defendant-

        SUBPOENA TO PRODUCE DOCUMENTS,INFORMATION, OR OBJECTS OR TO PERMIT
       INSPECTION OF'PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To:        RODOLFO KAHN ("&!@B!")
           1750 NE 191 Street, Unit 802
           North Miami Beach, FL33179

 X   Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
the material: See attached SCFIEDULE A for instructions and requests for document production.

PLACE: Stearns Weaver Miller Weissler Alhadeff & Sitterson' P.A.               DATE AND TIME:
             c/o Kristopher E. Pearson, Esq.
             Museum Tower, Suite 2200                                          December 21,2018 at 5:00 p.m.
              150 West Flagler Street
             Miami, FL 33130

 tr   Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
 property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
 inspect, measure, survey, photograph, test, or sample the properly or any designated object or operation on it.
 PLACE:                                                                        DATE AND TIME:


      The following provisions of Fed. R. Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P.9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date:     December 6.2018

             CLERK OF COURT
                                                         OR

             Signature of Clerk or Deputy Clerk

The name, address, email address, and telephone number of the attorney representing FirstService Residential
Florida, Inc., who issues or requests this subpoena, is: Kristopher S. Pearson, Esq., Stearns Weaver Millero et
al., 150 W. Flagler Street, Suite 22000 Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If this subpoena  commands the production of documents, electronically stored infbrmation, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served
on the person to whom it is directed. Fed. R, Civ. P. as(a)(a).
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                          Federal Rule of civil Procedure 45(c)o (d), (e), and (g) (Effective l2ll./13)
                 (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                                  (ii) disclosing an unrctained expeft's opinion or in{bnnation that
(c) Place of compliancc.                                                                does not describe specific occurences in dispute and results from the
                                                                                        expert's study that was not requested by a party'
     (l ) For a Trial, Hearing, or .Deposition. A subpoena may command a                      (C) Speci/ying Conditions as an Alternative. In the circutnstances
person to attend o tt'ittl, hearing, or deposition only as follows:                     described in Rule 45(dX3)(B), the court may, instead of quashing or
       (A) within 100 rniles of where the person resides, is employed, or               rnodifying a subpoena, order appearance or production under specified
regularly transacts business in person; or                                              conditions   ifthe scrving party:
       (ts) within the state where the person resides, is employed, or regularly                 (i) shows a substantial need for the testirnony or material that
transacts business in person, ifthe person                                              camrot be otherwise met without undue hardship; and
            (i) is a party or a party's officer; or                                             (ii) ensures that the subpoenaed person      will   be reasonably
            (ii) is commanded to attend a trial and would not incur substantial         compensated.
expens0.
                                                                                        (e) Dutics in llesponding to a Subpoena'
    (2)   l'or
             Other Discovery. A subpoena may command:
      (A) production ofidocuments, or electronically stored infonnationo or                 (I) Producing Documents or Electronicall.y Stored lnformation' These
things at a place within 100 rniles ofrvhere the person resides, is employed,           procedures apply to producing tlocuments or electronically stored
or regularly trtursacts busiress in person; and                                         information:
      (B) inspection oflpremises, at the prernises to be inspected.                           (l) Documents. A person responding to a subpoena to produce
                                                                                        documents must produce them as they are kept in the ordinary course of
(d) Protecting a Person Subject to a Subpoena; Enforcement.                             business or must organize ancl label them to corresponcl to the categories in
                                                                                        the demand.
       (1) Avoiding Ilndue Burden or Expense; Sanctions. A party or attorney                  (B) F'orm.for Producing Electronically Stored Information Not
responsible    for issuing and serving a subpoena must take reasonable steps to         Speci/ied. Ifi a subpoena does not specify a firrm for producing electronically
 avoid imposing undue burden or expense on a person subject to the                      stored information, the person responding must produce it in a fonn or fonns
 subpoena. T'he court for the district where compliance is required must                in which it is ordinarily maintained or in a reasonably usable form or forms.
 enforce this cluty and impose an appropriate sanction -- which may include                   (C) Electronicetlly Stored Infornation Produced in Only One Form.
  lost earnings and reasonable altorney's,fees    on a party or lttorney who            The person responding need not produce the sarne electronically stored
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I'ails to comply.                                                                       intirrmation in more than one filrm.
       (2) Command to Produce Materials or Permit [nspection.                                  (D) Inaccessible Electronically Stored lrtfortnation The person
         (A) Appearance Not Required. A person commanded to produce                     responding need not provide discovery ofelectronically stored infomlation
 documentso electronically stored information, or tangible things, or to permit         from sources that the person identifies as uot reasonably accessible because
 the inspection ofpremises, need not appear in person at the place of                   ofundue burden or cost. On motion to compel discovery or for a protective
 production or inspection unless also commanded to appeal for a deposition'             order, the person responding must show that the information is not
hearing, or trial.                                                                      reasonably accessible because ofundue burden or cost. lfthat showing is
      (I)) Objections, A person commanded to produce documents or tangible              made, the court may nonetheless order discovery from such sources ifthe
things or to permit inspection may serve on the party or attorney designated            requesting party shows good cause, considering the lirnitations ofltule
in the subpoena a written objection to inspecting, copying, testing or                  26(bX2XC). The court rnay specifu conditions for the discovery'
sampling any or all of the rnaterials or to inspecting the premises     or to
                                                                        -
producing electronically stored information in the fotrn or fonns requested'                  (2) Claiming Privilege or Protection.
The objection must be selved befbre the earlier ofthe tirne specificd for                      (A) InJbrmation Withheld. A pcrson withholding subpoenaed
compliance or' 14 days after the subpoena is served. If an objection is made,            information under a clairn that it is privileged or subject to protection as trial'
the folkrwing rules apply:                                                               preparation material must:
           (i) At any time, on notice to the comrnanded person, the serving                         (i) expressly make the claim; and
party may move the court for the district where compliance is required for an                       (ii) describe the nature ofthe withheld documents,
order oompelling procluction or inspection.                                              communications, or tangible things in a manner that, without revealing
           (ii) These acts may be required only as directed in the order, and            information itselfprivileged or protected, r,vill enable the parties to assess the
the order must protect a person who is neither a party nor a party's officer             claim.
fiom significant expcnse resulting fiorn compliance.                                            (B) .lnfornation Produced. If information produced in respouse to a
                                                                                         subpoena is subiect to a claim ofprivilege or ofprotection as trial-
   (3) Quashing or Modifying a Subpoena.                                                 preparation matelial, the person rnaking the claim may notify any parly that
     (A) Ilhen Required. On tirncly motion, the court fbr the district where             received the irrformation of the clairn and thc basis fbr it. Aftcr being
compliance is requiled must quash or modi$ a subpoena that:                              notified, a pafly must promptly retum, sequester, or deslroy the specified
          (i) I'ails to allow a reasonable time to comply;                               infonnation and any copies it has; must not use or disclose the iltformation
          (ii) requires a percon to comply beyond the geoggaphical limits                until the claim is resolved; rnust take reasonable steps to retrieve the
specified in Rule 45(c);                                                                 information if the party disclosed it before being noti{ied; and may promptly
          (iiD requires disclosure oflprivileged or other protected matter, ifno         present the infilrmation under seal to the coud fbr tlre district where
exception or waiver applies; or                                                          compliance is required for a determination of the clairn. The person who
         (iv) subjecls a person to undue burden.                                         produced the information must preserve the infornation until the claim is
     (B) Il/hen Pennitted. To protect a person subject to or affected by a               resolved.
subpoena, the court for the district where compliance is required may, on
motion. quash ol modify the subpoena if it requires:                                     (g) Contempt. The court for the clistrict where cornpliance is required - and
         (i) disclosing a trade secret or othcr confidential rcsearch,                   also, after a motion is transfered, the issuing court - may hold in conternpt a
development, or comnercial information; or                                               person who, having been served, fails without adequate excuse to obey tlle
                                                                                         subpoena or an orcler related to it.




                                                For access to subpoena tnaterials, scc Fed. R. Civ, P. 45(a) Committee Note (2013)
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                              UNrrpo         TATES BANTNUPTCY                           OURT
                                          SOUTTM,RN DISTRICT OF FLORIDA
                                                        Miami Division
In re:
JADE WrNDS ASSOCTATTON, rNC.,                                              cAsE NO. 15-17570-RAM
           I)ebtor.                                                        Chapter 1l
JADE WrNDS ASSOCTATTON, rNC.,
     Plaintiff,                                                            ADV. NO.17-01393-RAM
V.
F'IRSTSERVICE RESIDENTIAL FLORIDA' INC., etc.
           Defendant.

        suBpoENA TO PRODUCE DOCUMENTS,INFORMATION, OR OBJECTS OR TO PERMIT
       INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVNRSARY PROCEEDING)

To:        SANDRA MOSENSON FOX ("Dg@4!")
           1680 NE 191 Street, Unit 215
           North Miami Beach, FL33179

 X   Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
the material: See attached SCTIEDULE A for instructions and requests for document production.

 PLACE: Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A.              DATE AND TIME:
              c/o Kristopher E. Pearson, Esq.
              Museum Tower, Suite 2200                                         December 21,2018 at 5:00 p.m.
               150 West Flagler Sheet
              Miami, FL 33130

 tr   Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
 property possessed or controlled by you at the time, date, and location set forth below, so that the requesting pafty may
 inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
 PLACE:                                                                        DATE AND TIME:


     The following provisions of Fed. R. Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P.9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date:     December 6. 2018

             CLERK OF COURT
                                                          OR

             Signature of Clerk or Deputy Clerk                                 s


The name, address, email address, and telephone number of the attorney representing FirstService Residential
Floritlar lnc., who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Miller, et
al., 150 W. Flagter Street, Suite 2200, Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If this subpoena  commands the production of documents, electronically stored information, or tangible things, or the
inspection bf premises before trial, a notice and a copy of this subpoena must be serued on each party before it is served
on the person to whom it is directed. Fed. R. Civ. P. a5(aXa).
                                Case 17-01393-RAM                    Doc 134         Filed 12/10/18               Page 31 of 54

                          Federal Rule of Civil Procedure 45(c), (tl)' (e), and (g) (Effective l2/lll3\
                 (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                              (ii) disclosing   an unrctained expefi's opinion or infonnation that
(c) Place of compliance.                                                             does not describe specific occurences in dispute and results frorn the
                                                                                     expert's study that was not requested by a party.
     (l) For a Trial, Hearing or .Deposition. A subpoena may command a                     (C) Specfying Conditions as an Alternative. In the circumstances
person to attend a trictl, hearing, or deposilion only as follows:                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
       (A) within 100 miles of rvhere the person resides, is enployed, or            rnodifying a subpoena, order appearance or lrroduction under specified
regularly transacts business in person; or                                           conditions   ifthe serving party:
       (ts) within the state where lhe person resides, is employed, or regularly             (i) shows a substantial need for the testirnorry or material that
transacts business in person, ifthe person                                           camot be otherrvise nret without undue hardship; and
            (i) is a patty or a party's officer; or                                           (ii) ensures that the subpoenaed person will    be reasonably
            (ii) is commanded to attend a trial and would not incur substantial      compensated.
expense.
                                                                                     (c) Dutics in llcsponding to a Subpoena.
     (2) I''or Other Discovery. A subpoena may command:
      (A) production ofldocuments, or clectronically stored infonnationo or              (l) Producing Doatments or Electronicall.y Stored ltformation. These
things at a place within 100 miles of where the person resides, is employed,         procedures apply to producing documenls or elecftonicalbt stored
or regularly transacts business in person; and                                       inJbrmation:
      (B) inspection of prcmises, at thc premises to be inspected'                         (A) Documents. A person responding to a subpoena to produce
                                                                                     documents must produce them as they are kept in the ordinary course of
(d) Protecting a Person Subject to a Subpoena; Enforcement.                          business or must organize ancl label them to correspond to the categories in
                                                                                     the demand.
    (l ) Avoiding Undue Burden or Expense; Sanctions' A pttrty or attorney                 (B) Form.for Producing Electronically Stored lnformation Not
responsible   for issuing   and serving a subpoena must take reasonable steps to     Specffied. Ifi a subpoena does not specily a f'orm for producing electronically
avoitl imposing undue burden or expense on a person subiect ta the                   stored information, the person responding must produce it in a fonn or forms
subpoena. T'he courtfor the districtwhere compliance is required must                in which it is ordinarily rnaintained or in a reasonably usable form or fotms.
enforce this duty and itnpose an appropriate sanction -- which may include                 (C) Electronically Stored In/brtnation Produced in Only One Fortn
  lost earnings and reasonable attorney's.fees      on a parly or altorney who       The person responding need not produce the sarne electronically stored
        to
                                                -
Jitils     comply,                                                                   inflormation in more than one filrnr.
       (2) Command to Produce Materials or Permit Inspection.                              (D) Inaccessible Electronically Stored Information. The person
         (A) Appearance Not Required. A person commanded to produce                  responding need not provide discovery of electronically stored inlormation
documents, electronically storecl infonnation, or tangible things' or to permit      from sources that the person identifies as ttot retlsonably acoessible because
the inspection ofpremises, need not appear in person at the place of                 of undue bwden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appeal'for a deposition,           order, the person responding nust show that the infomration is not
hearing, or trial.                                                                   reasonably accessible because ofundue burden or cost. Ifthat showing is
         (B) Objections. A person commanded to produce documents or tangible         made, the court may nonetheless order discovery from such sowces ifthe
things or to permit inspection rnay serve on the party or attorney designated        requesting party shows good cause, considering the limitations ofl{ule
 in the subpoena a writtcn objection to inspecting, copying, testing or              26(bX2XC). The court rnay speci{y conditions for the discovery'
 sampling any or all of the materials or to inspecting the premises       or to
                                                                     -
producing electtrnioally stored information in the foun or fonns requested'               (2) Claiming Privilege or Protection.
 The objection must be served befbre the earlier ofthe tirnc specified for                 (A) InJbrmeilion Withheld. A person withholding subpoenaed
 compliance or 14 days after the subpoena is served' If an obiection is made'        information under a claim that it is privileged or subject to protection as trial-
 the folkrwing rules apply:                                                          preparation material must:
             (i) At any time, on notice to the comrnanded person, the serving                   (i) expressly make the claim; and
 party may move the court for the district where compliance is required for an                  (ii) describe the nature of the witl*reld documents,
 order compelling production or inspection.                                          communications, or tangible things in a mannel that, without revealing
             (ii) These acts may be required only as directed in the order, and      information itselfprivileged or protected, will enable the parties to assess the
 the order must protect a person who is neithel a party nor a party's officer        claim.
 f'rorn significant expense resulting li"orn compliance.                                    (B) .lnformation Produced. If information produced in respottse to a
                                                                                     subpoena is subject to a claim of privilege or of protection as trial-
    (3) Quashing or Modifying a Suhpoena.                                            preparation matelial, the person rnaking the claim nray notify any party that
      (A) When Required. On tirnely motion, the court for the district wherc         received the information of the clairn and thc basis lbr it. Aftcr being
cornpliance is required must quash or modify a subpoena that:                        notified, a party must promptly return, sequester, or destloy the specified
          (i) thils to allow a reasonable tinre to cornply;                          information and any copies it has; must not use or disclose the infoinration
          (ii) r'equires a person to comply beyon<l the geographical limits          until the claim is resolved; rnust take reasottable steps to retrieve the
specified in Rule 45(c);                                                             information if the party disclosed it before being notified; and may promptly
          (iii) requires disckrsure oflprivileged or other protected matter', ifno   present the infirrmation under seal to the court for the district where
exception or waiver applies; or                                                       compliance is required for a determination of the clairn. The person who
          (iv) subiects a person to undue burden.                                    produced the information must preserve the information until the clain is
      (B) Ilhen Permitted. To protect a person subject to or affccted by a           resolvcd,
subpoena, the court for the district where compliance is required may, on
rnotion, quash or modify the subpoena ifit requires:                                 (g) Conternpt. The court for the clistrict where cornpliance is requirecl - and
          (i) disclosing a trade secret or other confidcntial research,              also, after a mot.ion is transferred, the issuing court - may hold in conternpt a
development, or commercial information; or                                           person who, having been served, fails without adequate excuse to obey the
                                                                                     subpoena or an order related to it.




                                              For access to subpocna materials, scc Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                                         or To Permit     lna         Page
                                                                                         Case32
                                                                                              or of 54

                               NITED       Srarss             ANKRUPTCY COUNT
                                          SOUTIIERN DISTRICT OF FLORIDA
                                                   Miami Division
 In re:
JADE WrNDS ASSOCIATION, rNC.,                                              cAsE NO. 15-17570-RAM
          Debtor.                                                          Chapter   11
 JADE WII\DS ASSOCIATION, INC.,
      Plaintiff,                                                           ADV. NO. 17-01393-RAM

 FIRSTSERVICE RESIDENTIAL F LORIDA, INC.' etc.


        suBpoENA TO PRODUCE DOCUMENTS,INFORMATION, OR OBJECTS OR TO PERMIT
       INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

 To:      SCOTT BAUMANN ("Di!@!,)
          1780 NE 191 Street, Unit 802
          North Miami Beach, FL33l79

 X   Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
the material: See attached SCFIEDULE A for instructions and requests for document production.

 PLACE: Stearns Weaver Miller Weissler Alhadeff & Sitterson' P.A.              DATE AND TIME:
              c/o Kristopher E. Pearson, Esq
              Museum Tower, Suite 2200                                         December 21,2018 at 5:00 p.m.
               150 West Flagler Street
              Miami, FL 33130

 n    Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
 properly possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
 inspect, measure, survey, photograph, test, or sample the properly or any designated object or operation on it.
 PLACE:                                                                        DATE AND TIME:


      The following provisions of Fed. R. Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P.9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date:    December    201 8


            CLERK OF COURT
                                                         OR

            Signature of Clerk or Deputy Clerk

The name, address, email address, and telephone number of the attorney representing FirstService Residential
Floriclar lnc., who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Millero et
al.o 150 W. Flagler Street, Suite 22000 Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If this subpoena  commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each palty before it is served
on the person to whom it is directed. Fed. R. Civ' P. s(a)(a).
82570 (F'orm 2570     -           Case 17-01393-RAM                     Doc 134          Filed 12/10/18               Page 33 of 54
                          Subpoena to Produce Documents, lnfonnation, or Obiects or To Permit Inspeotion irt a tsanknrptcy Case or Adversarv Proceedine) (12115)


                                             Civil Procedure 45(c)o (d)' (e)' and (g) (Effective l2ll/13)
                                   tr'ederal Rule of
                    (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                                   (ii) disclosing an unretained expert's opinion or inibnnation that
(c) Place of compliancc.                                                                 does not describe specific occurrences in dispute and results frorn the
                                                                                         expert's study that was not requested by a party.
     (l ) For a Trial, Hearing, or Deposition. A subpoena may command a                       (C) SpeciJying Conditions as an Alternative.In the circurnstances
person to attend a lrial, hearing, or deposition only as /ollows:                        described in Rule 45(dX3)(B), the court may, instead of quashing or
       (A) within 100 miles of where the person resides. is employed, or                 rnodifying a subpoena, order appearance or production under specified
regularly transacls business in person; or                                                conditions   ifthe serving party:
       (ts) within the state where the person resides, is employed, or regularly                   (i) shows  a substantial need for the testimony or material that
transaots business in person, ifthe person                                                cannot be otherwise met rvithout undue hardship; and
            (i) is a party or a party's officer; or                                                (ii) ensures that the subpoenaed person will be reasonably
            (ii) is commanded to attend a trial and would not incur substantial           compensated.
expense,
                                                                                          (e) Dutics in llesponding to a Subpocna.
     (2)   I'or Other Discovery. A subpoena may command:
      (A) production of documents, or electronically stored infonnation, or                  (I) Producing Documents or Electronically Stored lnformation. These
things at a place within 100 miles of where the person resides, is employed,             procedures apply to producing documents or elecffonically stored
or regularly transacts business in person; and                                            information:
      (B) inspection of premiscs, at the premises to be inspected.                             (A) Documents. A person responding to a subpoena to produce
                                                                                          documents must produce them as they are kept in the ordinary course of
(d) Protecting a Person Subject to a Subpoena; Enforcement.                               business or nrust organize ancl label then to correspond to the categories in
                                                                                          the demand.
     (1) Avoiding Undue Burden or Expense; Sanctions. A p(trty or attorney                       (B) I'orm.for Producing Electronically Stored Informatiotr Not
responsiblefor issuing and serving a n$poena must take reasonable steps to                Spect/ied. If a subpoena does not specity a f'orm for producing electronically
avoitl imposing undue burden or expense on a person subject to the                        stored information, the person responding tnust produce it in a fonn or fonns
subpoena. The court for the district where compliance is required must                    in which it is ordinarily maintained or in a reasonably usable form or forms.
enforce this dlrty and impose an appropriate sanction -- which may include                       (C) Electronically Stored Infortnation Produced in Only One Form.
lost earnings and reasonable ottorney's,fees   an a party or dttorney who                 The person responding need not produce the same electronically stored
                                                  -
Jitils to comply.                                                                         infilrmation in more than one fbrm.
     (2) Command to Produce Materials or Permit hrspection.                                      (D) Inaccessible Electronically Stored In/brtnation The pcrson
      (A) Appearance Not Required. A person commanded to produce                          responding need not provide discovery ofelectronically stored infomration
docurnents, electronically stored infonnation, or tangible things, or to permit           from sources that the person identifies as not reasonably accessible because
the inspection ofpremises, need not appear in person at the place of                      ofundue burden or cost. On motion to compel discovery or for   a protective
procluction or inspection unless also commanded to appear for a deposition,               order, the person responding must show that the information is not
hearing, or trial.                                                                        reasonably accessible becanse ofundue burden or cost, Ifthat showing is
      (B) Objections. A person commanded to produce documents or tangible                 made, the court may nonetheless order discovery from such sources ifthe
things or to pemrit inspection rnay serve on the party or attomey designated              requesting party shows good cause, considering the limitations of l{ule
in the subpoena a written objection to inspecting, copying, tcsting or                    26(bX2XC). The court rnay speci{y conditions for the discovery.
sampling any or all of the rnaterials or to inspecting the premises    or to
                                                                        -
proclucing electtrnically storecl infornration in the fonn or fotms requested.                 (2) Claiming Privilege or Protection.
The objection must be served befbre the earlier ofthe tirne specificd for                       (A) InJbrmation Withheld. A person withholding subpoenaed
compliance or 14 days after the subpoena is served. If an objection is made,              information under a claim that it is privileged or'subject to protection as trial-
the folkrwing rules apply:                                                                preparation material must:
          (i) At any time, on notice to the comrnanded person, the serving                           (i) expressly make the claim; and
party may move the court for the district where compliance is required for an                        (ii) describe the nature of the withheld documents,
order compelling production or inspection.                                                oommunications, or tangible things in a mannel that, without revealing
          (ii) These acts may be required only as directed in the order, and              information itselfprivileged or protected, will enable the parties to assess the
the order must protect a person who is neithel a party nor a party's officer              claim.
florn significant expense resulting fiorn compliance.                                           (B) .lnfornation Produced. If information ptoduced in response to a
                                                                                          subpoena is subiect to a claim ofprivilege or ofprotection as trial-
     (3) Quashing or Modifying a Suhpoena.                                                preparation matelial, the person making the claim nay notify any palty that
      (A) lilhen Required. On tirnely motion, the court fbr the district wherc            received the information of the clairn and the basis fbr it. After being
compliance is requiled must quash or modify a subpoena that:                              notified, a party must promptly retum, sequester, or destroy the specilied
          (i) I'ails to allow a reasonable time to comply;                                infonnation ancl any copies it has; must not use or disclose the iufornration
          (ii) requires a person to comply beyond the geographical limits                 until the claim is resolved; tnust take reasonable steps to retrieve thc
specilted in Rule 45(c);                                                                  information if the party disclosed it before being notified; and may promptly
          (iii) requires discklsure oflprivileged or other protected matter, ifno         present the information under seal to the courl firr tlre district where
exception or waiver applies; or                                                           compliance is required for a determination of the claim. The person who
          (iv) subjects a person to undue bulden.                                         produced the information must preserve the information until the claim is
      (B) When Permitted. To protect a person subject to or affected by a                 resolved.
subpoena, the court for the district where compliance is required may, on
rnotion, quash or modify the subpoena ifit requires:                                      (g) Conternpt. The court for the district where cornpliance is required - and
          (i) disclosing a tradc secret or othcr confidcntial research,                   also, aller a motion is transfuned, thc issuing court * may hold in conternpt a
development, or comnercial infomration; or                                                person who, having been served, fails without adequate excuse to obey the
                                                                                          subpoena or an order related to it.



                                                For access to subpoena tnaterials, sce Fed. R. Civ. P. 45(a) Committee Note (2013)
                       Case   17-01393-RAM          Doc 134      Filed 12/10/18
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                         Produce                   or    or'I'o Permit

                                 NITED     Srarps BANTNUPTCY COUNI
                                          SOUTHERN DISTRICT OF FLORIDA
                                                        Miami Division
In re:
JADE WrNDS ASSOCTATTON, INC.,                                              cAsE NO. 15-17570-RAM
            htor                                                           Chapter   11

JADE WII\DS ASSOCIATION, INC.,
     Plaintifl                                                             ADV. NO. 17-01393-RAM

F   IRSTSERVICE RESIDENTIAL FLORIDA, INC., etc.


       suBpoENA TO PRODUCE DOCUMENTS,INFORMATION, OR OBJECTS OR TO PERMIT
      INSPECTION OF'PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To:      THOMAS WOLLITZER ("D@1")
         1770 NE 191 Street, Unit 612
         North Miami Beach, FL33I79

 X   Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
the material: See attached SCFIEDULE A for instructions and requests for document production.

 PLACE: Stearns Weaver Miller Weissler Athadeff & Sitterson, P.A.              DATE AND TIME
              c/o Kristopher E. Pearson, Esq.
              Museum Tower, Suite 2200                                         December 21,2018 at 5:00 p.m.
               150 West Flagler Street
              Miami, FL 33130

 n    Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
 property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
 inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it'
 PLACE:                                                                        DATE AND TIME:


     The following provisions of Fed. R. Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P.9016, are
 attached - Rule a5(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date:    December    201    I
           CLERK OF COURT
                                                          OR

           Signature of Clerk or Deputy Clerk

The name, address, email address, and telephone number of the attorney representing FirstService Residential
Floritlar lnc., who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Millero et
al., 150 W. Flagler Street, Suite 2200, Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If'this subpoena commands the production of documents, elechonically stored information, or tangible things, or the
inspection bf premises before trial, a notice and a copy of this subpoena must be serued on each party before it is served
on the person to whom it is directed. Fed. R. Civ. P. as(a)( ).
                                Case 17-01393-RAM                      Doc 134        Filed 12/10/18
82570 (Form 2570 - Subpoena to Produce l)ocuments. lnfonnation, or Obiects or To Permit InsDection in
                                                                                                  a
                                                                                                                 Page
                                                                                                                   Case35   of 54 Proceeding)
                                                                                                                        or Adversarv                  02/15)


                                Federal Rule of civil Procedure 45(c), (d), (e), and (g) (Effective l2llll3)
                       (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                                (ii) disclosing an unretained expeft's opinion or infbnnation that
(c) Placc of compliance.                                                              does not describe specific occuffences in dispute and results frorn the
                                                                                      expert's study that was not requested by a party.
     (I) For a Trial, Hearing, or Deposition. A subpoena may command a                      (C) SpeciJying Conditions as an Alternative. In the circurnstances
person to attend a trial, hearing, or deposition only as follows:                     described in Rule 45(d)(3XB), the court may, instead ofquashing or
       (A) within I00 rniles of where the person resides. is employecl' or            rnodifying a subpoena, order appearance or production under specilied
rcgularly trausacts business in person; or                                            conditions ifthe scrving pafty:
       (ts) within the state where lhe peruon resides, is employed, or regularly               (i) shows a substantial need for the testimony or matelial that
transacts business in person, ifthe person                                            canuot be otherwise met without undue hardship; nncl
            (i) is a party or a party's officer; or                                            (ii) ensures that the subpoenaed person will   be reasonably
            (ii) is commanded to attend a trial and would not incur substantial       compensated.
expense.
                                                                                      (e) Dutics in llesponding to a Subpocna
     (2)   f'or Other Discovery. A subpoena may command:
      (A) production ofi documents, or electronically stored infbnnation, or              (t ) Producing Documents or Electonically Stored Infotmation. These
things at a place within 100 rniles of where the person resides, is employed,         procedures apply to producing documents or electronically stored
or regularly transaots business itt person; and                                       inJbrmation:
      (B) inspection of premises, at thc premises to be inspected,                          (A) Documents. A person responding to a subpoena to produce
                                                                                      clocuments must produce them as they are kept in the ordinary course of
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           business or nlust organize ancl label them to corresponcl b the categories in
                                                                                      the demand.
      (t) Avoiding Undue Burden or Expense; Sanctions.      A   pdrty or nttorney           (R) t'orm.for Producing Electronically Stored Informatiotr Not
responsiblefor issuing and serving a mbpoena must take reasonefile steps to           Speci/ied. Ifi a subpoena does not specity a f'orm for producing electronically
avoitl imposing undue burden or expense on a person sttbiect to the                   stored information, the person responding must produce it in a fonn or fonns
subpoena. The courtfor the districtwhere compliance is required must                  in which it is ordinarily maintained or in a reasonably usable lorm or forms.
edorce this duty and impose an appropriate ,tanction -* which may include                   (C) Electronically Stored In/brmation Produced in Only One Form.
 lost earnings and reasonable altorney's fees on a party or attorney who              The person responding need not produce the sarne electronically stored
                                                -
.fitils to cottrply.                                                                  infilrmation in more than one filrnr.
     (2) Cotnmand to Produce Materials or Permit Inspection.                                 (D) Inaccessible Electronically Stored Infortnation The pcrson
      (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovety of electronically stored inlornation
docurnentso electronically storecl information, or tangible things, or to permit      from sources that the person identifies as not retusonably accessible becausc
the inspection ofpremises, need not appear in person at the place of                  ofundue burden or cost. On motion to compel discovery or for a protective
procluction or inspection unless also commanded to appear for a deposition,           order, the person responding must show that the inlormation is not
lrearing, or trial.                                                                   reasonably accessible because ofundue burden or cost. Ifthat showing is
        (B) Objections. A person commanded to produce documents or tangible           made, the court may nonetheless order discovery from such sources ifthe
things or to permit inspection may serve on the party or attorney designated          requesting party shows good cause, considering the lirnitations ofl{ule
in the subpoena a written objcction to inspecting, copying, testing or                26(bX2XC). The court rnay speciff conditions for the discovery'
sampling any or all ofthe rnaterials or to inspecting the premises        or to
                                                                       -
proclucing electronically storecl infomration in the fonn or fonns requestecl.            (2) Claiming Privilege or Protection.
The objection must be served befbre the carlier ofthe tirne specified for                  (A) InJbrmation Withlrcld. A person withholding subpoenaed
compliance or 14 days after the subpoena is served. Ifan objection is made,           infomration under a claim that it is privileged or subject to protection as tlial-
the folkrwing rules apply:                                                            preparation material must:
             (i) At any time, on notice to the comrnanded person, the serving                   (i) expressly rnake the claim; and
piuty may move the court for the district where compliance is required for an                   (ii) describe the nature of the withheld documents,
order compelling production or inspection.                                            conrmunications, or tangible things in a manner that, without revealing
             1ii) fnese acts may be required only as directed in the order, and       information itselfprivileged or protected, will enable the parties to assess the
tl-re olcler must protect a person who is neither a party nor a party's officer       claim.
liom significant expcnsc resulting florn compliance,                                        (B) .Information Produced.If information produced in rcsponse to a
                                                                                      subpoena is subject to a claim ofprivilege or ofprotection as trial-
    (3) Quashing or Modifuing a Suhpoena.                                             prepalation material, the person rnaking the clainr may notify uTy party that
     @j 'lVhen Required. On tirnely motion, the court fbr the district wherc          receivcd the information of the clairn and thc basis fbr it. Aftcr being
 compliance is required must quash or modify a subpoena that:                         notified, a party must promptly retum, sequester, or destroy the specified
         (i) fails to allow a reasonable time to comply;                              infonnation and any copies it has; must not ttse or disclose the information
          (ii) requires a person to cornply beyond the geographical limits            until the claim is resolved; must take reasouable steps to retrieve the
 specified in Rule 45(c);                                                             information if the paay disclosed it before being notified; and may promptly
           (iii) requires disclosure oflprivileged or other proteoted matter', ifno   present the inf'ormation under seal to the court fbr the district whele
 exception or waiver applies; or                                                      compliance is required for a determination of the clairn' The person who
           (iv) subjects a person to undue burden.                                    producecl the infomation must preserve the information until the claim is
       (B) llthen Permitted. To protect a person subject to or affected by a          rcsolved.
 subpoena, the court for the district where compliance is required may, on
 rnotion, quash or modify the subpoena ifit requires:                                  (g) Contempt. The court for the clistrict where cornpliance is required - and
           (i) disclosing a trade sccret or other confidential rescarch,               also, alter a motion is transferred, the issuing court - may hold in conternpt a
 development, or commercial information; or                                            person who, having been served, fails without adequate exouse to obey the
                                                                                       subpoena or au ot'der related to it.




                                              For access to subpoena materials, scs    Fed. R. Civ. P. 45(a) Committee Note (2013)
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                           UNIrnn            TATES BANTNUPTCY                         Counr
                                          SOUTHERN DISTRICT OF FLORIDA
                                                        Miami Division
In re:
JADE WrNDS ASSOCTATION, INC.,                                               cAsE NO. 15-17570-RAM
                                                                            Chapter   11

JADE WINDS ASSOCTATTON, rNC.,
         Plaintiff,                                                         ADV. NO. 17-01393-RAM

FIRSTSERVICE RESIDENTIAL FLORIDA, INC., etc.


     suBpoENA TO PRODUCE DOCUMENTS,INF'ORMATION, OR OBJECTS OR TO PERMIT
     INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To:      XOCHITL ALVAREZ ("&@,4")
         1710 NE 191 Street, Unit 311-3
         North Miami Beach, FL33l79

 X   Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objectso and to permit their inspection, copying, testing, or sampling of
the material: See attached SCI{EDULE A for instructions and requests for document production.

PLACE: Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A.                DATE AND TIME:
             c/o Kristopher E. Pearson, Esq,
             Museum Tower, Suite 2200                                           December 21,2018 at 5:00 p.m.
              150 West Flagler Street
             Miami, FL 33130

 n    Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
 properly possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
 inspect, measure, survey, photograph, test, or sample the properly or any designated object or operation on it.

 PLACE                                                                          DATE AND TIME:


      The following provisions of Fed. R. Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P.9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date:   December 6.2018

            CLERK OF COURT
                                                          OR

           Signature of Clerk or Deputy Clerk                            Attorney


The name, address, email address, and telephone number of the attorney representing FirstService Residential
Florida, Inc., who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Millero et
al., 150 W. Flagler Street, Suite 22000 Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection bf premises before trial, a notice and a copy of this subpoena must be serued on each party before it is served
on the person to whom it is directed. Fed. R' Civ' P. as(aXa).
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                                                                  lnspection irt a tsankruptcv Clase or Adversarv                        Proceeding) (12l15)
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                          Federal Rule of civil Procedure 45(c)o (d), (e), and (g) (Effective l2llll3)
                (matle applicable in bankruptcy cases by Rute 9016, Federal Rules of Bankruptcy Procedure)

                                                                                              (ii) disclosing an unretained expert's opinion or infonnation that
(c) Place of compliancc.                                                            does not describe specific occwrences in dispute and results frorn the
                                                                                    expert's study that rvas not requested by a patty'
     (t) For a Trial, Hearing, or Deposition. A subpoena may command a                    (C) Speclyiny Conditions as an Alternative. In the circurnstances
person to attend (t trial, hearing, or deposition only as follows:                  described in Rule 45(d)(3XB), the court may, instead ofquashing or
       (A) within 100 rniles of where the person resides. is enrployecl, or         rnodifying a subpoena, order appearance or production under specified
regularly transacts business in person; or                                          conditions   ifthe serving pady:
       (ts) within the state where the pel'son resides, is employed, or regularly             (i) shows a substantial need for the testimorry or material that
transacts business in person, ifthe person                                          camrot be otherwise met without undue hardship; ancl
            (i) is a party or a party's officer; or                                          (ii) ensures that the subpoenaed person will be reasonably
            (ii) is commanded to attend a trial and would not incur substantial     compensated.
expense,
                                                                                     (e) Duties in lLesponding to a Subpocna.
    (2) F'or Other Discovery. A subpoena may command:
      (A) production ofi documents, or electronically stored infonnation, or            (t) Producing Doatments or Electronicall.y Stored Information. These
things at a place within 100 miles of where the person resides, is employed,        procedures apply to producing documents or electronically stored
or regularly trursacts business in person; antl                                     inJbrmation:
      (B) inspection of premiscs, at thc premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce
                                                                                    documents must produce them as they are kept in the ordinary course of
(d) Protecting a Person Subject to a Subpoena; Enforcement.                         business or must organize ancl label them to oorrespond to the categories in
                                                                                     the demand.
      (1) Avoiding Undue Burden or Expense; Sanctions. A pdrty or attorney                 (B) F orm .for Producing Electronically Stoted Informatio,t Not
responsible for issuing and serving a subpoena must take reasonable steps to         Specif.ed. I1'a subpoena does not specily a form for producing electronically
avoicl imposing undue burden ot expense on a person subiect to the                   stored information, the person responding rnust produce it in a form or fonns
subpoena. Ihe court for the district where compliance is required must               in which it is ordinarily maintained or in a reasonably usable form or fonns.
en\or"" this (luty and impose an appropriate sanction --^ which may include                (C) Electronically Stored Information Produced itt Only One Form.
 loast earnings and reasonable attorney's fees on a party or altorney who            The person responding need not produce the sarne electronically stored
                                                -
lails to conryb).                                                                    infilrmation in more than one filrm.
       (2) Command to Produce Materials or Petmit lnspection.                               (D) Inaccessible Electronically Stored lnfornation Thc person
        (A) Appearance Not Required. A person commanded to produce                   responding need not provide discovery ofelectronically stored infomration
documents,-electronically stored infomation, or tangible things, or to permit        from sources that the person iclentifies a^s not reasonably aor:essible because
the inspection ofpremises, need not appear in person at the place of                 of undue bwden or cost. On motion to compel discovery or for a protective
procluction or inspection unless also conmanded to appeal for a deposition,          order, the person responding must show that the inlormation is not
hearing, or trial.                                                                   reasonably accessible because ofundue burden or cost. Ifthat showing is
      (Q Objecttons. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources ifthe
things or to pemrit inspection may serve on the party or attomey designated          requesting party shows good cause, considering the lirritations ofllule
in the subpoena a written objcction to inspecting, copying, testing or               26(bX2)(C). The court tnay speciff conditions for the discovery.
sampling any or all of the rnaterials or to inspecting the premises    or to
                                                                      -
procluoing electronically stot'ecl information in the fonn or fonns requested.           (2) Claiming Privilege or Protection.
the objection must be served befbre the earlier ofthe tirne specified for                 (A) InJbrmation I'yithheld. A person withholding subpoenaed
compliance or 14 days after the subpoena is served. Ifan objection is made,          information under a claim that it is privileged or subject to protection as trial-
the foll<lwing rules apply:                                                          preparation material must:
           (i) At any time, on notice to the comrnanded person, the serving                    (i) expressly make the claim; and
party may move the court for the district where compliance is required for an                  (ii) describe the nature of the withheld documents,
order compelling production or inspection.                                           conrmrmications, or tangible things in a manner that, without revealing
           1il; these acts may be required only as directed in the order, and        information itselfprivileged ot protected, rvill enable the parties to assess the
the order must protect a person who is neither a pafly nor a party's officer         claim.
fiom signifioant expense resulting fiorn compliance.                                       (B) Infornation Produced.If information produced in rcspotlse to a
                                                                                     subpoena is subject to a claim ofprivilege or ofprotection as trial'
    (3) Quashing or Modifuing a Subpoena.                                            prepatation nratedal, the person rnaking the claim nray notify any palty that
      @j When Required. On tirncly motion, the court for the district wherc          received the information of the claim and the basis fbr it. Aftcr being
cornpliance is requiled must quash or modify a subpoena that:                        notified, a party must promptly return, sequester, or destroy the specified
          (i) fbils to allow a reasonable time to comply;                            information and any copies it has; must not use or disclose the information
          (ii) requires a person to comply beyond the geographical limits            until the claim is resolved; tnust take reasonable steps to retrieve tlte
specihed in Rule 45(c);
  -                                                                                  information if the party disclosed it before being notified; and may promptly
          (iii) requires disclosure ofprivileged or other protected mattet, ifuo     present the infilrmation under seal to the courl firr the district where
exception or waiver applies; or                                                      compliance is required for a detemrination of the clairn. The person who
          (iv) subjects a person to undue burden.                                    produced the information must preserve the information until the claim is
      (B) llthen Permitted. To protect a person subject to or affected by a          rcsolved.
subpoena, the court for the district where compliance is required may' on
rnotion, quash or modify the subpoena if it requires:                                (g) Contempt. The court for the district where cornpliance is requirecl - and
          (i; disclosing a tradc secret or othcr confidential research,              also, alter a motion is transfcrred, the issuing coutt - may hold in conternpt a
development, or conrmercial infomlation; or                                          person who, having been served, fails without adequate excuse to obey the
                                                                                     subpoena or an otder related to it.




                                              For access to subpoena materials, see Fed. R. Civ. P. 45(a) Comntittee Note (2013)
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                                NITED      Srarps             ANKRUPTCY                    URT
                                          SOUTI{ERN DISTRICT OF FLORIDA
                                                  Miami Division
In re:
JADE WINDS ASSOCIATTON, INC.,                                              CASE NO. 15-17570-RAM
                                                                           Chapter 1l
JADE WINDS ASSOCIATION, INC.,
     Plaintifl                                                             ADV. NO. 17-01393-RAM
v.
FIRSTSERVICE RESIDENTIAL FLORIDA, INC.' etc.


         suBpoENA TO PRODUCE DOCUMENTS,INFORMATION, OR OBJECTS OR TO PERMIT
        INSPECTION OF'PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To:       ZUZANA BERMUDEZ ("&!gg!')
          1670 NE 191 Street, Unit 106-3
          North Miami Beach, FL33179

X    Production: YOU ARE COMMAI\DED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
the material: See attached SCHEDULE 4 for instructions and requests for document production.

PLACE: Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A.                   DATE AND TIME:
             c/o Kristopher E. Pearson, Esq
             Museum Tower, Suite 2200                                              December 21,2018 at 5:00 p.m.
              150 West Flagler Street
             Miami, FL 33130

 tr  Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
p-p.rty porsessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

PLACE:                                                                             DATE AND TIME:


      The following provisions of Fed. R. Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P.9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date     December    201 8


           CLERK OF COURT
                                                         OR

           Signature of Clerk or Deputy Clerk


The name, address, email address, and telephone number of the attorney representing FirstService Residential
Flori6a, Inc., who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Millero et
al., 150 W. Flagler Street, Suite 2200, Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection bf premises before trial, a notice and a copy of this subpoena must be serued on each party before it is served
on the person to whom it is directed. Fed. R. Civ. P. a5(aXa).
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                          F',ederal Rule of civil Procedure 45(c)o (d), (e), and (g) (Effective l2/lll3)
                 (made applicable in bankruptcy cases by Rute 9016, Federal Rules of Bankruptcy Procedure)

                                                                                                     (ii) disclosing an unretained expert's opinion or infonnation that
(c) Place of compliance.                                                                   does not describe specific occurences in dispute and results frorn the
                                                                                           expert's study that was not rcquested by a party.
    (t) For a Trial, Hearing or .Deposition. A subpoena may command a                            (C) Spectyin7 Conditions as an Alternative. In the circutnstances
person to altend a  tittl, hearing, or deposition only as follows:                         described in Rule 45(dX3)(B), the court may, instead of quashing or
     (A) within 100 rniles of where the person resides, is employecl, or                   rnodifying a subpoena, order appearance or production under specilied
regularly transacts business in person; or                                                 conditions   ifthe serving party:
     (ts) within the state where the person resides, is employed, or regularly                      (i) shows a substantial need for the testimony or material that
transacts business in person,     ifthe   person                                           camrot be otherwise met without undue hardship; and
            (i) is a party or a party's officer; or                                                 (ii) ensures that the subpoenaed person will   be reasonably
            (ii) is commanded to attend a trial and would not incur substantial            compensated.
expens0.
                                                                                           (c) Dutics in llesponding to a Subpoena.
    (2)   l'or
             Other Discovery. A subpoena may command:
      (A) production ofdocuments, or clectronically stored infonnation, or                     (t) Producing Documents or Electronically Stored Information. These
things at a place within 100 miles of where the person resides, is employed,               procedures apply to producing docuntents or electronically slored
or regularly transacts business in person; and                                             information:
      (B) inspection ofiprcmiscs, at the prernises to be inspected,                              (A) Documents. A petson responding to a subpoena to produce
                                                                                           documents must produce them as they are kept in the ordinary course of
(d) Protecting a Person Subject to a Subpoena; Enforcement.                                business or must organize and label them to corresponcl to the categories in
                                                                                           the demand.
      (l) Avoiding Undue Burden or Expense; Sanctions' A p(trty or attorney                      (B) I'orm.for Producing Electronically Stored Informatiotx Not
responsiblefor issuing and serving a subpoena must tdke reasonable steps to                SpecrJied. Ifl a subpoena cloes not specity a firrm for producing eleotronically
avoicl intposing undue burden or expense on a person subject to the                        stored information, the person responding tnust produce it in a fonn or fonns
subpoena. T'he court for the district where compliance is required must                    in which it is ordinarily maintained or in a reasonably usable form or fonns.
enforce this duty and inpose an appropriate sanction ** which may include                        (C) Electronically Stored In/brmation Prcduced in Only One Form
 lost earnings and reasonable attorney's,fees   on a party or attorney who                 The person responding need not produce the same electronically stored
                                                    -
Jbils to comply.                                                                           infilrmation in more than one filrm.
     (2) Command to Produce Materials or Permit lnspection.                                       (D) Inaccessible Electronically Stored Information The person
      (A) Appearance Not Required. A person commanded to produce                           responding need not provide discovery ofelectronically stored inlbmration
documents, electronically stored infonnation, or tangible things, or to permit             from sources that the person identifies a^s not reasonably accessible because
the inspection ofpremises, need not appeat in person at the place of                       ofundue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,                 order, the person responding must show that the information is not
hearing, or trial.                                                                         reasonably accessible because ofundue burden or oost. Ifthat showing is
       (B) Objections, A person commanded to produce documents or tangible                 made, the court may nonetheless order discovery from such sources ifthe
things or to permit inspection may serve on the party or attorney designated               requesting party shows good cause, considering the limitations ofl{u1e
in the subpoena a writtcn objection to inspecting, copying, testing or                     26(bX2XC). The court rnay specifr conditions for thc discovery.
sampling any or all of the rnaterials or to inspecting the premises      or to
                                                                        -
proclucing electronically storecl information iu the fot'tn or fonns requestecl.                (2) Claiming Privilege or Protection.
The objection must be served befbre the earlier ofthe tirne specified for                        (A) Information llithheld. A person withholding subpoenaed
compliance or' 14 days after the subpoena is served. If an obiection is made,              information under a claim that it is privileged ol subject to protection as trial'
the folklwing rules apply:                                                                 preparation material must:
           (i) At any time, on notice to the commanded person, the serving                            (i) expressly rnake the claim; and
party may move the court for the district where compliance is required for an                         (ii) describe the nature of the withheld documents,
order compelling procluction or inspeotion.                                                oommunicatious, or tangible things in a nranner that, without revealing
           (ii) These acts may be required only as directed in the order, and              information itselfprivileged or protected, will enable the parties to assess the
the order nust protect a person who is neither a party nor a party's officer               claim.
liorn significant expense rcsulting liorn compliance.                                             (B) Information Produced.If information produced in response to a
                                                                                           subpoena is subject to a claim of privilege or of protection as trial-
    (3) Quashing or Modifuing a Suhpoena.                                                  preparation material, the person rnaking the claim nray notify any pady that
     (A) When Required. On tirnely motion, the coutt for the dish'ict where                received the information of the clairn and thc basis fbr it, Aftcr being
cornplialce is required must quash or modi$ a subpoena that:                               notihed, a party must promptly retum, sequester, or destroy the specilied
          (i) fails to allow a reasonable tinre to comply;                                 information ancl any copies it has; must not use or disclose the information
          (ii) requires a person to comply beyond the geographical limits                  until the claim is resolved; must take reasouable steps to retrieve the
specified in Rule 45(c)l                                                                   information if the party disclosed it before being notified; and may pronptly
          (iii) requires disclosure oflprivileged or other protected matter, ifno          present the infirrmation rurder seal to the court f'or the district where
exception or waiver applies; or                                                            compliance is required for a determination of the claim. The person who
            (iv) subiects   a person   to undue burden.                                    produced the infiormation must preserve the inlbrmation until the claim is
     (B) tlthen Permitted. To protect a petson subject to or affoctcd by a                 resolved.
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena ifiit requires:                                        (g) Contempt. The court for the distriot where compliance is requilecl - and
         (i) disclosing a tradc secret or othcr confidential rescarch,                      also, alter a motion is transferred, the issuing court - may hold in conternpt a
development, or commercial information; or                                                  person who, having been served, fails without adequate excuse to obey the
                                                                                            subpoena or an order related to it.




                                                   For access to subpoena tnaterials,   see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                            UNITPO TATES BANTRUPTCY                                  Counr
                                          SOUTHERN DISTRICT OF FLORIDA
                                                        Miami Division
In re:
JADE WrI\DS ASSOCTATTON, rNC.,                                             cAsE NO. 15-17570-RAM
         Dehtor.                                                           Chapter   11

JADE WINDS ASSOCIATION, INC.,
     Plaintiff,                                                            ADV. NO. 17-01393-RAM

FIRSTSERVICE RESIDENTIAL FLORIDA, INC., etc.


      suBpoENA TO PRODUCE DOCUMENTS,INFORMATION, OR OBJECTS OR TO PERMIT
     INSPECTION OF'PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To:      HARRY BERMUDEZ ("Ds@.4!")
         1670 NE 191 Street, Unit 106
         North Miami Beach, FL33l79

 X   production: yOU ARD COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
the material: See attached SCHEDULE A for instructions and requests for document production.

PLACE: Stearns Weaver Miller Weissler Alhadeff & Sittersono P.A.               DATE AND TIME
             c/o Kristopher E. Pearson, Esq.
             Museum Tower, Suite 2200                                          December 21,2018 at 5:00 p.m.
              150 West Flagler Street
             Miami, FL 33130

 I    Inspection of premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
 p-p"tty pos"gid or controlled by you at the time, date, and location set forth below, so that the requesting party may
 inspect, measure, suryey, photograph, test, or sample the properly or any designated object or operation on it'

 PLACE:                                                                        DATE AND TIME:


     The following provisions of Fed' R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date:   December 6. 2018

           CLERK OF COURT
                                                          OR

           Signature of Clerk or Deputy Clerk

The name, address, email address, and telephone num ber of the attorney representing FirstService Residential
Floritlar lnc., who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Miller, et
al.o 150 W. Flagler Street, Suite 2200, Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection bf premises before triil, anotice and a copy of this subpoena must be serued on each party before it is served
on the person to whom it is directed. Fed. R' Civ' P' a5(a)(a).
                             Case 17-01393-RAM Doc 134 Filed 12/10/18                                            Page  41 of 54
                                                                                                                    Case or Adversary Proceeding) 02/t5\
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                               Federal Rule of        civil Procedure 45(c)o (d), (e), and (g) (Effective l2l1ll3)
                 (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                               (ii) disclosing an unretained expert's opinion or infonnation that
(c) Place of compliancc.                                                             does not describe specific occurrences in dispute and results frorn the
                                                                                     expert's study that was not requested by a party.
     (t) For a Trial, Hearing, or Deposition. A subpoena may command a                     (C) SpecrJyins Conditions 4s an Alternative. In the circurnstances
person to attend a ffial, hearing, or deposition only as follows:                    described in Rule 45(d)(3)(B), the court may, instead ofquashing or
       (A) within 100 miles of where the person resideso is employecl, or            rnodifying a subpoena, order appearance or production under specified
regularly transacls business in person; or                                            conditions ifthe scrving party:
       (ts) within the state where the person resides, is employed, or regularly                (i) shows a substantial need for the testimony or matelial that
transacts business in person, ifthe person                                            cannot be otherwise met without undue hardship; ancl
            (i) is a party or a party's officer; or                                             (ii) ensures that the subpoenaed person rvill be reasonably
            (ii) is commanded to attend a trial and would not incur substantial       compensated.
expense.
                                                                                      (c) Dutics in llcsponding to a Subpocna.
     (2)   f'or Other Discovery. A subpoena may command:
      (A) production ofi documents, or clectronically stored infbnnation, or              (1) Producing Documents or frlectronicall.y Stored ldormation. Tlese
things at a place within 100 rniles ofrvhere the person resides, is employed,         procedures apply to producing documenls or electronically stored
or regularly trffisacts business in person; and                                       inJbrmation:
      (B) inspection ofipremises, at the premises to be inspected.                         (A) Documents. A percon responding to a subpoena to produce
                                                                                      documents must produce them as they are kept in the ordirary course ol
(d) Protecting a Person Subject to a Subpoenal Enforcement.                                                                                                     'in
                                                                                      business or nust organize ancl label them to correspond to the categories
                                                                                      the demand.
    (l) Avoiding Undue Burden or Expense; Sanctions' A p(vty or attorney                    (R) l'orm.for Producing Electronically Stored lnformatiotr Not
responsible for issuing and serving a subpoena must take reasonahle steps to          Speci/ied. [f a subpoena does not specify a fbrm for producing electronically
 avoid imposingundue burden or expense on a person subject to the                     stored information, the person responding must produce it in a fonn or fotms
 subpoena. T'he courtfor the districtwhere compliance is required must                in which it is ordinarily maintained or in a reasonably usable fonn or foms.
 erforce this duty and impose an appropriate sanction *- which may include                  (C) Electronically Stored Inforntation Produced in Only One Form.
 lost earnings and reasonable altorney's.fees      on a party or attorney who         The person responding need not produce the same electronically stored
                                               -                                      infilrmation in more than one firrm.
.fhils to conrply.
      (2) Command to Produce Materials or Permit Inspection.                                 (D) Inaccessible Electronically Stored Information The person
        (A) Appearance Not Required. A person commanded to produce                    responding need not provide discovery of electronically stoled infomration
 docurnenti, electronically stored infonnatiou, or tangible things, or to permit      frorn sources that the person identifies as uot reasonably accessible because
 the inspection ofpremises, need not appear in person at the place of                 ofundue burden or cost. On motion to compel discovery or for a protective
 procluction or inspection unless also commanded to appeal for a deposition,          ordero lhe person responding nust show that the information is not
 hearing, or trial.                                                                   reasonably accessible becanse ofundue burden or cost. Ifthat showing is
        (B) Objections, A person commanded to produce documents or tangible           made, the court may nonetheless order discovery from such sources ifthe
 things or to permit inspection may serve on the palty or attomey designated          requesting party shows good cause, considering the lirnitations of l{ule
 in the subpoena a written objection to inspecting, copying, testing or               26(bX2XC). The courl rnay specify conditions for the discovery.
 sampling any or all of the rnaterials or to inspecting the premises     or to
                                                                     -
 proclucing electronically stored information in the fonn or fonns requested.              (2) Claiming Privilege or Protection.
 The objection must be seled befbre the carlier of the tirne specified for                  (A) InJbrmation Withheld. A pcrson withholding subpoenaed
 compliance or 14 days after the subpoena is served. Ifan objection is made'          information under a claim that it is privileged or subject to protection as trial-
 tlre following rules apply:                                                          preparation material must:
            (i) At any time, on notice to the commanded person, the serving                      (i) expressly make the claim; and
 party may move fte court for the district where compliance is required for an                   (ii) describe the nature ofthe withheld documents,
 order compelling production or inspeotion.                                           communications, or tangible things in a nanner that, without revealing
            1i1 fnese acts may be required only as directed in the order, and         information itselfprivileged or protected, will enable the parties to assess the
 the orcler must protect a person who is neither a party nor a party's officer        claim.
 liorn significant expense resulting liorn compliance,                                       (B) lnformation Produced. Ifinformation produced in rcsponse to a
                                                                                      subpoena is subject to a claim ofprivilege or ofprotection as trial-
    (3) Quashing or Modifying a Subpoena.                                             preparation material, the person making the claim may uotify any pal'ty that
     (A) When Reqttired. On tirnely motion, the coutt for the district wherc          rcceived the information of the clairn and thc basis lbr it, After being
cornpliance is required must quash or modify a subpoena that:                         notified, a party must promptly retum, sequester, or destroy the specified
         (i) fails to allow a reasonable time to cornply;                             infonnation ancl any copies it has; must not ttse or disclose the information
         (ii) requires a person to comply beyond the geographical limits              until the clairn is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
 -                                                                                     information if the party disclosed it before being notified; and may promptly
          (iii) requires discklsure ofprivileged or other protected matter, ifno      present the inf'ormation under seal to the coutt firr the dishict where
exception or waiver applies; or                                                        compliance is required for a determination of the clairn. The person who
          (iv) subjects a person to undue burden.                                     produced the information must preserve the information until the claim is
      (B) When Permitted. To protect a person subject to or affectcd by a             resolved.
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:                                   (g) Contempt. The court for the <Iistriot where cornpliance is requirecl - and
          (i) disclosing a trade secret or other confidential rcsearch,                also, after a motion is transfcrred, the issuing court - may hold in conternpt a
development, or commercial information; or                                             pelson who, having been served, fails without adequate excuse to obey the
                                                                                       subpoena or an order related to it.




                                             For access to subpoena matcrials,     see Fed. R. Civ. P. 45(a) Committee Note (2013)
                       Case     17-01393-RAM        Doc 134     Filed 12/10/18         Page  42 of 54
 82570     2s70   -     to Produce                 or    or To Permit     lll a          Case or


                               NITED       Srarss              ANKRUPTCY                   OURT
                                          SOUTI-IERN DISTRICT OF FLORIDA
                                                        Miami Division
In re:
JADE WINDS ASSOCIATION, INC.,                                               CASE NO. 15-17570-RAM
         Debtor.                                                            Chapter   11
JADE WrNDS ASSOCTATTON, rNC.,
     Plaintiff,                                                             ADV. NO.17-01393-RAM
V.
FIRSTSERVICE RESIDENTIAL FLORIDA, INC.' etc.
         Defendant.

       suBpoENA TO PRODUCE DOCUMENTS,INFORMATION, OR OBJECTS OR TO PERMIT
      INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To:      PAUL LHOTSKY ("Dg!Wg!")
         1750 NE 191 Street, Unit 517
         North Miami Beach, FL33179

 X   Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
the material: See attached SCIIEDULE A for instructions and requests for document production.

 PLACE: Stearns Weaver Miller Weissler Alhadeff & Sitterson' P.A.               DATE AND TIME
              c/o Kristopher E. Pearson, Esq
              Museum Tower, Suite 2200                                          December 21,2018 at 5:00 p.m.
               150 West Flagler Street
              Miami, FL 33130

 n    Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
 property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
 inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
 PLACE                                                                           DATE AND TIME:


      The following provisions of Fed. R. Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P.9016, are
 attached - Rule +S1c;, relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date:   December 6 201 8

           CLERK OF COURT
                                                          OR

           Signature of Clerk or Deputy Clerk                            Attorney's Signature


The nameo address, email address, and telephone number of the attorney representing FirstService Residential
Floritla, Inc., who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Miller, et
al., 150 W. Flagler Street, Suite 2200, Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspectionbf premises before trial, anotice and a copy of this subpoena must be serued on each party before it is served
on the person to whom it is directed. Fed. R. Civ. P' as(a)(a).
                               Case 17-01393-RAM Doc 134 Filed 12/10/18                                         Page  43 of 54
                                                                                                                   Case or Adversary Proceeding) /r211s\
82570 (Folm 2570     - Subpoena to Produce Docrmrents, lnformation, or Objeots or To Permit Inspection in a
                          Federal Rule of civil Procedure 45(c), (d), (e), and (g) (Effective 12/1113)
                 (made appticable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                              (ii) disclosing an unretained expert's opinion or infonnation that
(c) l'lace of compliancc.                                                           does not describe specific occurrences in dispute and results frorn the
                                                                                    expert's study that was not requested by a party.
     (l ) For a Trial, Hearing, or Deposition. A subpoena may command a                   (C) Specy'ying Conditions as an Alternative, In the circutnstances
person to attend .t lrial, hearing, or deposition only as follows:                  described in Rule 45(dX3XB), the court may, instead of quashing or
       (A) within 100 miles of where the person resides, is employed, or            rnodifying a subpoena, order appearance or production under specified
regularly transacts business in pcrson; or                                          conditions   ifthe serving party:
       (ts) within the state where the pelson resides, is employed, or regularly              (i) shows a substantial need fot'the testirnony or material that
transacts business in person, ifthe person                                           camrot be otherwise nret without undue hardship; and
            (i) is a party or a party's officer; or                                          (ii) ensures that the subpoenaed person    will   be reasonably
            (ii) is commanded to attend a trial and would not incur substantial      compensated.
expense.
                                                                                     (e) Dutics in llcsponding to a Subpocna.
    (2)   For Other Discovery. A subpoena may cornmand:
      (A) production ofi documents, or electronically stored infonnation, or            (l ) Producing Documents or Electronically Stored Information. These
things at a place within 100 rniles of where the person resides, is employed,       procedures apply to producing tlocuntents or electronically stored
or regularly transacts business in person; and                                       information:
      (B) inspection ofprcmises, at the premises to be inspected.                          (A) Documents. A person responding to a subpoena to produce
                                                                                     documents must produce them as they are kept in the ordinary course of
(d) Protecting a Person Suhject to a Subpoena; Enforcement.                          business or must organize and label them to corresponcl to the categories in
                                                                                     the demand.
      ( I ) Avoiding lJndue Burden or Expense ; Sanctions. A p(trty or (tttorney           (B) !'orm for Producing Electronically Stored Information Not
responsible for issuing and serving a subpoena must take reasonahle steps to         Specifed. Ifl a subpoena does not specily a fbrm for producing electronically
avoid imposingundue burden or expense on a person subject to the                     stored information, the person responding rnust produce it in a fonn or forms
subpoena, I'he court for the district where compliance is required must              in which it is ordinarily maintained or in a reasonably usable fonn or fonns.
enforce this dtfty and impose an appropriate sanction *- which may include                 (C) Electronically Stored Information Produced in Only One Form.
 losl earnings and reasonuble attorney's,fees     on a party or attorney v)ho        The person responding need not produce the same electronically stored
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fails   to comply.                                                                   infilrmation in more than one firrm.
     (2) Cotnmand to Produce Materials or Pemit lnspection.                                 (D) Inaccessible Electronically Stored Infortnation The pcrson
      (A) Appearance Not Required. A person conrmanded to produce                    responding need not provide discovery ofelectronically stored information
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the inspection ofpremises, need not appear in person at the place of                 ofundue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also cornmanded to appear for a deposition,          order, the person responding must show that the infomration is not
hearing, or trial.                                                                   reasonably accessible because ofundue burden or cost. lfthat showing is
      (B) Objections. A person commanded to produce documents or tangible            made, the court may nonetheless order discovery from such sources ifthe
things or to permit inspection may serve on the party or attomey designated          requesting party shows good cause, considering the limitations ofllule
in the subpoena a written objection to inspecting, copying, tcsting or               26(bX2)(C). The court rnay specify conditions for the discovery.
sampling any or all of the rnaterials or to inspecting the premises     or to
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proclucing electlonically stored information in the foun or fonns requested.              (2) Claiming Privilege or Protection.
The objection must be served befbre the earlier ofthe tirne specified for                  (A) InJbrmation Withheld. A person withholding subpoenaed
cornpliance or 14 days after the subpoena is served. Ifan objection is made,         information under a claim that it is privileged or subject to protection as lrial-
the folkrwing rules apply:                                                           preparation material must:
           (i) At any time, on notice to the comrnanded person, the serving                     (i) expressly rnake the claim; and
party may move the court for the district where compliance is required for an                   (ii) describe the nature of the withheld documents,
order compelling production or inspection.                                           oommunications, or tangible things in a mumer that, without revealing
           (ii) These acts may be required only as directed in the order, and        information itselfprivileged or protected, rvill enable the parties to assess the
the orcler nust protect a person who is neither a party nor a party's officer        claim.
liorn significant expcnse restrlting fi'orn compliance.                                     (B) lnformation Produced. If information produced in response to a
                                                                                     subpoena is subject to a claim of privilege or of protection as tlial-
   (3) Quashing or Modifuing a Subpoerta.                                            preparation matelial, the person rnaking the claim nray notify trny parly that
     (A) When Required. On tirncly motion, the coutt for the district wherc          received the information of the claim and the basis fbr it' After being
compliance is requiled must quash or modify a subpoena that:                         notified, a party must promptly return, sequester, or destroy the specified
         (i) fiails t<l allow a reasonable time to cornply;                          infonnation and any copies it has; must not use or disclose the information
         (ii) requires a person to comply beyond the geoggaphical limits             until the clairn is resolved; must take reasonable steps to retrieve the
specihed in Rule 45(c);                                                              information if the party disclosed it before being notified; and may promptly
         (iii) requires discklsure ofiprivileged or other protected matter, ifno     present the infirrmation under seal to the cout firr tlre dishict whele
exception or waiver applies; or                                                      compliance is required for a determination of the clairn. The person who
          (iv) subjects a person to undue burden'                                    produced the information must preserve the information until the claim is
      (B) llrhen Permitted. To protect a person subject to or affectcd by a          resolved,
subpoena, the court for the district where compliance is required may, on
rnotion, quaslr or modify the subpoena if it requires:                               (g) Contempt. The court for the district where cornpliance is required - and
          (i) disclosing a trade secret or other confidential research,              also, altcr a motion is transfered, the issuing court - may hold in contempt a
development, or comrnercial iuformation; or                                          person who, having been served, fails without adequate excuse to obey the
                                                                                     subpoena or an order related to it.




                                             For acccss to subpocna tnatcrials, scc Fed. R. Civ, P' 45(a) Committee Note (2013)
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                                 UNtrBn       TATES           ANKRUPTCY COUNT
                                           SOUT}IERN DISTRICT OF FLORIDA
                                                   Miami Division
 In re:
 JADE WrNDS ASSOCTATION, rNC.,                                             cAsE NO. 15-17570-RAM
            Dehfor-                                                        Chapter   11
 JADE WrNDS ASSOCTATTON' rNC.,
      Plaintiff,                                                           ADV. NO. 17-01393-RAM
 v.
 FIRSTSERVICE RESIDENTIAL FLORIDA, INC., etc.
            Defendant.

         suBpoENA TO PRODUCE DOCUMENTS,INFORMATION, OR OBJECTS OR TO PERMIT
        INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

 To:        JUAN SEVERINO ("Deponent')
            19700 NE 49 Avenue
            North Miami Beach, FL33l79

 X   Production; YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit their inspection, copying, testing, or sampling of
the material: See attached SCIIEDULE A for instructions and requests for document production.

 PLACE: Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A.              DATE AND TIME
              c/o Kristopher E. Pearson, Esq.
              Museum Tower, Suite 2200                                         December 21,2018 at 5:00 p.m.
               150 West Flagler Street
              Miami, FL 33130

 n    Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
 property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
 inspect, measure, suryey, photograph, test, or sample the property or any designated object or operation on it.

 PLACE:                                                                        DATE AND TIME:


      The following provisions of Fed. R. Civ. P.45, made applicable in bankruptcy cases by Fed. R. Bankr. P.9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of
 not doing so.
 Date:      December     201 8

              CLERK OF COURT
                                                         OR

              Signature of Clerk or Deputy Clerk                       A

The name, address, email address, and telephone number of the attorney representing FirstSerryice Residential
Floridar Inc., who issues or requests this subpoena, is: Kristopher E. Pearson, Esq., Stearns Weaver Millero et
al., 150 W. Flagler Street, Suite 2200, Miami, FL 33130; (305) 789-3200; kpearson@stearnsweaver.com.
                               Notice to the person who issues or requests this subpoena
If this subpoena  commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be serued on each party before it is served
on the person to whom it is directed. Fed. R. Civ. P. a5(a)(a).
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                          Subpoena to Produce Documents, lnfonnation, or Ob.iects or To Permit lnsnection irr a tsankruDtcy Case or Adversary                  (l 2115)

                            Federal Rule of Civil Procedure 45(c), (d)' (e)' and (g) (ElTective l2llll3)
                   (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

                                                                                                    (ii) disclosing an unretained expett's opinion or infonnation that
(c) l'lace of compliance.                                                                 does not desmibe specific occurrences in dispute and results frorn the
                                                                                          expert's study that was not requested by a patty.
    (|) For a Trial,      Hearing, or Deposition. A subpoena may command a                      (C) SpeciJying Conditions as an Alternative.In the circurnstances
person to attend a    tial,   hearing, or deposition only as follows:                     described in Rule 45(d)(3)(B), the court may, instead ofquashing or
      (A)    within 100 rniles of where the person resides, is employed, or               rnodifying a subpoena, order appearance or production under specilied
regularly    fuansacts business in person; or                                             conditions   ifthe serving party:
     (ts)    within the state where the person resides, is employed, or regularly                  (i) shows a substantial need for the testimony or material that
transactlt   business in person, ifthe person                                             cannot be othenvise met without undue hardship; ancl
             (i) is a party or a party's officer; or                                              (ii) ensures that the subpoenaed person       will   be reasonably
             (ii) is commanded to attend a trial and would not incur substantial          compensated.
expensc,
                                                                                          (c) Dutics in Ilesponding to a Subpoena.
    (2)   I'or Other Discovery. A subpoena may command:
      (A) production of documents, or clectronically stored infonnation, or                   (l) Producing Documents or Electronicall.v Stored Information. These
things at a place within 100 rniles ofrvhere the person resides, is employed,             procedures apply to producing docuntenls or electronically stored
or regularly transacts business in person; and                                            inJbrmation:
      (B) inspection ofprcmises, at the prernises to be inspected.                              (A) Documents. A person responding to a subpoena to produce
                                                                                          documents must produce them as they are kept in the ordinary course of
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       (1) Avoiding Undue Burden or llxpense; Sanctions. A pevty or attorney                    (R) I'orm.for Producing Electronically Stored Information Not
 responsible for issuing and serving a subpoeno must take reasonable steps to             Speci/ied. If a subpoena cloes not specify a filrm for producing electronically
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 enforce this duty and impose an appropriate sanction --'which may include                      (C) Electronically Stored Inforn ation Produced in Only One Form.
 lost earnings and reasonable attorney's fees   on a parly or altorney who                The person responding need not produce the sarne electronically stored
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     (2) Command to Produce Materials or Permit lnspection.                                     (D) Inaccessible Electronically Stored Information T.'he person
      (A) Appearance Not Required. A person conmanded to produce                          responding need not provide discovery ofelectronically stored information
documents. electronically stored infonnation, or tangible things, or to permit            frorn sources that the person identifies ars not rea^sonably accessible because
the inspection ofpremises, need not appear in person at the place of                      ofundue burden or cost. On motion to compel discovery or for   a protective
production or inspection unless also commanded to appeal'for a deposition,                order, the person responding must show that the information is not
hearing, or trial.                                                                        reasonably accessible because ofundue burden or cost. Ifthat showing is
      (B) Objections. A person commanded to produce documents or tangible                 made, the court may nonetheless order discovery from such sources ifthe
things or to permit inspection rnay serve on the party or attorney designated             requesting party shows good cause, considering the limitations ofl{ule
in thc subpoena a written objection to inspecting, copying, tcsting or                    26(bX2XC). The cout rnay speciff conditions for the discovery.
sampling any or all of the materials or to inspecting the premises     or to
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producing elechonically stolecl information in the fonn or fonns requestecl.                   (2) Claiming Privilege or Protection.
The objection must be sewed before the earlicr of the tirne specificd for                       (A) In/brmation llithheld. A pcrson withholding subpoenaed
compliance or 14 days after the subpoena is served. If an objection is made,              information under a claim that it is privileged or subject to protection as trial-
the fblkrwing rules apply:                                                                preparation material must:
          (i) At any time, on notice to the comrnanded person, the serving                          (i) expressly make the claim; and
party may move the court for the district where compliance is required for an                       (ii) describe the nature of the withheld documents,
order compelling production or inspection.                                                commrnications, or tangible things in a mumer that, without revealing
          (ii) These acts may be required only as directed in the order, and              information itselfprivileged or protected, will enable the parties to assess the
the order must protect a person who is neithef a party nor a party's officer              claim.
fiorn significant expense resulting fiorn compliance.                                           (B) Information Produced. Ifinformation produced in rcsponse to a
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     (3) Quashing or Modifling a Subpoena.                                                preparation material, the person rnaking the clainr nray lotify any party that
      (A) When Required. On tirnely motion, the court fbr the dish'ict where              received the information of the clairn and the basis for it, Aftcr being
cornpliance is required must quash or modify a subpoena that:                             notilied, a party must promptly retum, sequester, or destroy the specilied
          (i) l'ails to allow a reasonable time to cornply;                               infonnation ancl any copies it has; rnust not nse or disclose tlre information
          (ii) requires a person to comply beyond the geographical limits                 until the clairn is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);                                                                  information if the party disclosed it before being notified; and may promptly
          (iii) requires disclosure ofiprivileged or other proteoted matter, ifno         present the information under seal to the court firr the district where
exception or waiver applies; or                                                           compliance is required for a determination of the clairn, The person who
          (iv) subiects a person to undue burden.                                         produced the information must preserve the inlbrmation until the clain is
      (B) Ilthen Permitted. To protect a person subject to or affected by a               resolved.
subpoena, the court for the district where compliance is required may, on
rnotion, quash ol modify the subpoena ifit requires:                                      (g) Contcmpt. The court for the district where cornpliance is required - and
          (i) disclosing a tradc secret or other confidential research,                   also, after a motion is transferred, thc issuing court - rnay hold in conternpt a
development, or commercial information; or                                                person who, having been served, fails without adequate excuse to obey the
                                                                                          subpoena or an orcler related to it.



                                                For access to subpoena matcrials, see Fed. R. Civ. P. 45(a) Comnittee Note (2013)
              Case 17-01393-RAM         Doc 134     Filed 12/10/18   Page 46 of 54


                                           Schedule A
                                  Adv. Proc. No. 17-01393-RAM

                                          DEFINITIONS

       1.     “You” or “Your” means the Deponent named on the first page of this Subpoena.
       2.      “Toyne Firm” means Toyne, Schimmel & Alonso, P.A. and, if appropriate, Your
attorney, agents, employees and other authorized representatives.
       3.      “Molder Firm” means Jason Molder, Esq. formerly of the now dissolved law firm of
Swimmer & Molder PL and, if appropriate, its, attorney, agents, employees and other authorized
representatives.
       4.     “FirstService” means FirstService Residential of Florida, Inc. f/k/a The Continental
Group, Inc.
       5.     “Jade Winds” means Jade Winds Association, Inc.
       6.      “Main Case” means the chapter 11 bankruptcy case styled In re Jade Winds
Association, Inc., Case No. 15-17570-RAM.
       7.      “Adversary Proceeding” means this Adversary Proceeding styled Jade Winds
Association, Inc. v. FirstService Residential of Florida, Inc., Adv. Proc. No. 17-01393-RAM.
      8.     “Complaint” means the complaint Jade Winds filed against FirstService initiating this
Adversary Proceeding, a copy of which is attached as Exhibit 1.
       9.      “Contract” means the Association Management Contract, as amended, between
FirstService and Jade Winds, which is attached as Exhibits A to C to the Complaint.
       10.    “Amended Initial Disclosures” means Jade Winds’ Amended Rule 26(a)(1) Initial
Disclosures [ECF No. 73] in this Adversary Proceeding, a copy of which is attached as Exhibit 2.
        11.     “Evidence,” “refer,” or “relate” means and includes supporting, showing, or being
legally or logically connected with a matter in any way, including the document referred to.
        12.     “Document” is synonymous in meaning and equal in scope to the usage of this term as
described in Fed. R. Civ. P. 34, as adopted by Fed. R. Bankr. P. 7034. Document includes
electronically recorded information.
        13.    “Communication,” means the transmission, sending and/or receipt of information of any
kind by and/or through any means, including without limitation, speech, writings, language, computer
or electronics of any kind, magnetic tape, video tape, photographs, graphs, symbols, signs, magnetic
disks, sound radio and/or video signal, telephone, teletype, telecommunication, telegram, microfilm,
microfiche, photographic film of any type and/or other media of any kind, including e-mail, text
message or other messaging services.
      14.     “Relevant Time Period” means from January 1, 2009 to date of production of the
documents.



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      15.     “40 Year Certification” means the 40-year certification required by Miami-Dade
County, Florida for Jade Winds’ buildings, which is referenced in paragraph 15 of the Complaint.
        16.     “Rec. Tower” means the multi-story recreational tower at Jade Winds’ property which
is referenced in paragraph 15 of the Complaint.
        17.   “Joel” means Miriam Joel, unit owner at Jade Winds, who is referenced in paragraph 15
of the Complaint.
       18.   “Joel Litigation” means the litigation Joel filed against Jade Winds on September 18,
2013 (Case No. 13-30039-CA-01 (10) (Fla. 11th Cir. Ct.)).
       19.    “JW Tower” means Jade Winds Tower, LLC, former owner of the Rec. Tower.
        20.     “Tower Litigation” means the litigation between Jade Winds Tower, LLC and Jade
Winds, which was styled Jade Winds Tower, L.L.C. v. Jade Winds Association, Inc., 13-16010 CA (02)
(Fla. 11th Cir. Ct.).
      21.    “JW Owned Units” means condominium units owned by Jade Winds, to which Jade
Winds obtained title through lien foreclosures.
       22.    “Cash Only Parking Procedure” means Jade Winds’ procedure under which it collected
cash payments for visitors parking at Jade Winds’ property.
       23.    “Board Elections” means elections of Jade Winds’ board of directors.
       24.    “Condo Act” means Chapter 718 of the Florida Statutes.
       25.    “AKAM” means AKAM On-Site, Inc.
       26.    “Americus” means Americus Construction Group, Inc.
      27.     “Americus Litigation” means Americus Constr. Grp., Inc. v. Jade Winds Ass’n, Inc.,
Case No. 15-05678-CA-01 (Fla. 11th Cir. Ct.).
       28.    “Star Painting” means Star Painting and Waterproofing, Inc.
       29.    “Star Painting Litigation” means the litigation between Jade Winds and Star Water
Proofing, which was styled Star Painting & Waterproofing, Inc. v. Jade Winds Ass’n, Case No. 12-
02967 CA 10 (Fla. 11th Cir. Ct.).
       30.     “Gonzalez Engineers” means J. Eduardo Gonzalez, P.E., Inc., n/k/a Diversified
Structural Design, Inc.
       31.    “Castro Engineer: means Emilio Castro, P.E.
       32.    “Mantin” means Donna Mantin.
       33.    “Perez” means Santiago Perez, former President and Director of Jade Winds.
       34.    “Sharony” means Revital Sharony, Perez’s wife.
       35.    “Preferred Accounting” means Preferred Accounting Services, Inc. and Ana Costales-
Abiseid.
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       36.    “Fuoco Group” means Fuoco Group, LLC and Donna Seidenberg, CPA.
       37.    “Auditors” means Gerstle, Rosen & Goldenberg, PA
       38.     “Unit Owners Litigation” means the lawsuit Xochitl Alvarez and Harry M. Bermudez,
and other unit owners filed against Jade Winds on July 28, 2014, which initiated the case styled
Alvarez v. Jade Winds Association, Inc., Case No. 14-19520-CA-31 (Fla. 11th Cir. Ct.)).


                                   DOCUMENT REQUESTS

       Please produce the following documents for the Relevant Time Period:

      A.      All Communications and Documents that evidence, support or relate to Your
knowledge as set forth in the Amended Initial Disclosures, if applicable.
        B.       All Communications and Documents between You and the Toyne Firm that evidence,
refer, or relate to Jade Winds.
        C.       All Communications and Documents between You and the Molder Firm that evidence,
refer, or relate to Jade Winds.
        D.      All Communications and Documents between You and FirstService that evidence, refer,
or relate to Jade Winds.
        E.      All Communications and Documents between You and Mantin that evidence, refer, or
relate to Jade Winds.
        F.      All Communications and Documents between You and Perez that evidence, refer, or
relate to Jade Winds.
        G.      All Communications and Documents between You and Sharony that evidence, refer, or
relate to Jade Winds.
        H.      All Communications and Documents between You and JW Tower that evidence, refer,
or relate to Jade Winds.
       I.      All Communications and Documents between You and Preferred Accounting that
evidence, refer, or relate to Jade Winds.
        J.       All Communications and Documents between You and the Auditors that evidences,
refers, or relates to Jade Winds.
        K.       All Communications and Documents between You and Fuoco Group that evidence,
refer, or relate to Jade Winds.
        L.      All Communications and Documents between You and Joel, including Joel’s attorneys,
that evidence, refer, or relate to Jade Winds.
       M.      All Communications and Documents between You and Miami-Dade County that
evidence, refer, or relate to Jade Winds.

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        N.      All Communications and Documents between You and AKAM that evidence, refer, or
relate to Jade Winds.
       O.       All Communications and Documents between You and Americus, including Americus’s
attorneys, that evidence, refer, or relate to Jade Winds.
       P.       All Communications and Documents between You and Star Painting, including Star
Painting’s attorneys, that evidence, refer or relate to Jade Winds.
      Q.     All Communications and Documents between You and Gonzales Engineers, including
Gonzales Engineers’ attorneys, that evidence, refer or relate to Jade Winds.
       R.     All Communications and Documents between You and Castro Engineer, including
Castro Engineer’s attorneys, that evidence, refer or relate to Jade Winds.
       S.       All Communications and Documents between You and any third-parties, including
attorneys, that evidence, refer or relate to Jade Winds.
       T.     All agreements between You and Jade Winds.
        U.      All Communications and Documents that evidence, refer, or relate to the 40 Year
Certification, which is referenced in paragraph 15 of the Complaint.
       V.     All Communications and Documents that evidence, refer, or relate to the Cash Only
Parking Procedure, which is referenced in paragraph 15 of the Complaint.
       W.     All Communications and Documents that evidence, refer, or relate to Jade Winds’
compliance with the Condo Act, which is referenced in paragraph 15 of the Complaint.
       X.     All Communications and Documents that evidence, refer, or relate to Jade Winds’
Board Elections, which are referenced in paragraph 15 of the Complaint.
       Y.      All Communications and Documents that evidence, refer, or relate to Jade Winds’
amendments to its Declaration of Condominium, Corporate By-laws or Articles of Incorporation,
which are referenced in paragraph 15 of the Complaint.
      Z.   All Communications and Documents that evidence, refer or relate to Mantin’s alleged
mismanagement of Jade Winds, which is referenced in the Complaint.
      AA. All Communications and Documents that evidence, refer, or relate to Jade Winds’
complaints of FirstService’s alleged mismanagement, which are referenced in paragraph 15 of the
Complaint.
      BB. All Communications and Documents that evidence, refer, or relate to alleged
embezzlement of Jade Winds’ funds by former members of its board of directors, referenced in Jade
Winds’ Bankruptcy Case.
       CC. All Communications and Documents that evidence, refer, or relate to Jade Winds’
renting of JW Owned Units or failure to rent JW Owned Units, which is referenced in Jade Winds’
Amended Initial Disclosures.



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        DD. All Communications and Documents that evidence, refer, or relate to Jade Winds’
generation of revenue from the disposal of scrap metal, which is referenced in Jade Winds’ Amended
Initial Disclosures.
       EE.    All Communications and Documents that evidence, refer, or relate to Jade Winds’
incurrence of increased bank loan costs, which is referenced in Jade Winds’ Amended Initial
Disclosures.
       FF.     All Communications and Documents that evidence, refer, or relate to FirstService
allegedly shredding or destroying Jade Winds documents, which is referenced in paragraph 15 of the
Complaint.
       GG. All Communications and Documents that evidence, refer, or relate to FirstService’s
alleged failure to ensure that Jade Winds made timely and sufficient utility payments at Jade Winds,
which allegedly resulted in threats to cancel service, late fees, and other penalties, which is referenced
in paragraph 15 of the Complaint.
        HH. All Communications and Documents that evidence, refer, or relate to FirstService’s
alleged failure to ensure that Jade Winds contract for or made payments necessary for maintenance of
common areas, which allegedly resulted in life-safety hazards, and which is referenced in paragraph 15
of the Complaint.
       II.     All Communications and Documents that evidence, refer, or relate to FirstService’s
alleged failure to timely pay certain contractors, vendors, and other professionals that were hired,
which allegedly resulted in lawsuits and other claims, and which is referenced in paragraph 15 of the
Complaint.
       JJ.      All Communications and Documents that evidence, refer, or relate to FirstService’s
alleged failure to ensure that Jade Winds was hiring suitable contractors and vendors, rather than those
who would allegedly cost Jade Winds more, but had an alleged personal relationship with the board
president or others, which is referenced in paragraph 15 of the Complaint.
       KK. All Communications and Documents that evidence, refer, or relate to FirstService’s
alleged oversight of the 40-year recertification process, which Jade Winds allegedly failed, which is
referenced in paragraph 15 of the Complaint.
       LL.     All Communications and Documents that evidence, refer, or relate to FirstService’s
alleged failure to ensure that Jade Winds made appropriate payments related to special capital
assessment projections, which is referenced in paragraph 15 of the Complaint.
         MM. All Communications and Documents that evidence, refer, or relate to the alleged
frittering away of hundreds of thousands of dollars allegedly taken from Jade Winds unit owners
special assessments, which is referenced in paragraph 15 of the Complaint.
        NN. All Communications and Documents that evidence, refer, or relate to Jade Winds’
failure to comply with Miami-Dade County building codes and ordinances, which allegedly resulted in
the recordation of liens and the assessment of fines in excess of $100,000, which is referenced in
paragraph 15 of the Complaint.




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        OO. All Communications and Documents that evidence, refer, or relate to Jade Winds’
failure the imposition by Miami-Dade County of a Notice to Vacate on an alleged improperly
permitted building, which is referenced in paragraph 15 of the Complaint.
       PP.      All Communications and Documents that evidence, refer, or relate to Jade Winds’
financial practices that were allegedly out of order, which allegedly caused “qualified” audits from the
Auditors, which are referenced in paragraph 15 of the Complaint.
        QQ. All Communications and Documents that evidence, refer, or relate to imposition of
fines on Jade Winds unit owners, which are referenced in paragraph 15 of the Complaint.
      RR. All Communications and Documents that evidence, refer, or relate to Perez and
Sharony’s payment of $60,000 for Mantin to have extensive dental work.
         SS.    All Communications and Documents that evidence, refer, or relate to Mantin’s alleged
failure to keep books and records for Jade Winds.
         TT.    All Communications and Documents that evidence, refer, or relate to Mantin’s alleged
failure to provide unit owners with access to books and records at Jade Winds.
        UU. All Communications and Documents that evidence, refer, or relate to Mantin’s alleged
alteration or destruction of books and records at Jade Winds, which is referenced in paragraphs 15, 21,
and 27 of the Complaint.
       VV. All Communications and Documents that evidence, refer, or relate to FirstService’s
alleged gross mishandling the case of Miriam Joel, which is referenced in paragraph 15 of the
Complaint.
        WW. All Communications and Documents that evidence, refer, or relate to FirstService’s
failure to cooperate with Jade Winds’ outside professionals, which is referenced in paragraph 15 of the
Complaint.
      XX. All Communications and Documents that evidence, refer, or relate to the reasons why
Jade Winds declared bankruptcy.
        YY.    All Communications and Documents that evidence, refer, or relate to JW Tower
Litigation.
       ZZ.    All Communications and Documents that evidence, refer, or relate to the Americus
Construction Litigation.
        AAA. All Communications and Documents that evidence, refer, or relate to the Star Painting
Litigation.
        BBB. All Communications and Documents that evidence, refer, or relate to the Unit Owners
Litigation.
        CCC. All Communications and Documents that evidence, refer, or relate to the Joel
Litigation.




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       DDD. All Communications and Documents that evidence, refer, or relate to Jade Winds’
complaints concerning FirstService’s and/or Ms. Mantin’s performance of management services under
the Contract.
       EEE. All Communications and Documents that evidence, refer, or relate to Jade Winds’
complaints concerning FirstService’s and/or Ms. Mantin’s performance of bookkeeping services under
the Contract.
       FFF. All Communications and Documents that evidence, refer, or relate to FirstService’s
purported knowledge of Ms. Mantin’s alleged improper actions in connection with her services of
Communication Association Manager under the Contract, which is referenced in paragraphs 37-43 of
the Complaint.




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                    EXHIBIT 1

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                                  EXHIBIT 2

                                  SEE ECF #73




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